Case 2:12-cv-00089-KM-JBC Document 236 Filed 03/17/17 Page 1 of 64 PageID: 11816




                              UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW JERSEY



      CHARLENE DZIELAK, et al.,

               Plaintiffs,                                        Civ. No. 2:12-0089
                                                                   (KM) (JBC)
         V.


                                                                      OPINION
      WHIRLPOOL CORPORATION, et al.,


               Defendants.



  KEVIN MCNULTY. U.S.D.J.:

         This putative class action arises from the sale of Maytag washing
  machine models that bore ENERGY STAR® labels signifying that they met
  federal standards of water and electrical efficiency.’ In May 2012, the U.S.
  Department of Energy determined that these particular models did not actually
  meet Energy Star efficiency standards, and thus disqualified them from the
  program. The plaintiffs, including named plaintiff Charlene Dzielak, are
  purchasers of Maytag Centennial models MVWC6ESWWO, MVWC6ESWW1,
  and MVWC7ESW
      2        WO (the “Washers”) They claim that they and a putative
  class suffered uniform harm because they all purchased Washers improperly
  labeled with the Energy Star logo. The price of the Washers was inflated, they
  claim, because consumers will pay a premium for Energy Star-qualified
  washing machines, “due to their.     .   .   supposed water usage, energy efficiency,


        Familiarity with my earlier opinions (ECF No. 78, 127) is assumed. Herein, I will
  render ENERGY STAR® as “Energy Star”.
  2    Models MVWC6ESWWO and MVWC6ESWWI are hereinafter referred to as the
  C6 models and MVWC7ESWWO is referred to as the C7 model.

                                                    1
Case 2:12-cv-00089-KM-JBC Document 236 Filed 03/17/17 Page 2 of 64 PageID: 11817




  and ENERGY STAR® qualification.” (Second Amended Consolidated Complaint,
  ECF No. 86,    ¶   118) Additionally, they claim that each purchaser “paid more
  money in additional water and energy costs to operate his or her Mislabeled
  Washing Machine than they would have had the appliance actually met the
  ENERGY STAR® qualification as represented and promised by Whirlpool.” (Id.)
           This opinion addresses four motions in limine—three filed by the
  defendants and one by the plaintiffs—seeking to strike proffered expert
  testimony concerning class-wide damages. For the most part, the motions are
  denied. For the reasons discussed below, I will deny the defendants’ motions to
  strike the expert opinions of Dr. Ramamirtham Sukumar and Dr. Michael J.
  Dennis (ECF nos. 198, 199). I will grant in part the defendants’ motion to strike
  the expert opinion of Mr. Cohn Weir (ECF No. 200), insofar as it is based on
  data presented in an anonymous Whirlpool document. Finally, I will deny the
  plaintiffs’ cross-motion to strike Dr. Carol A. Scott’s rebuttal and supplemental
  expert opinions as a discovery sanction under Federal Rule of Civil Procedure
  37 (ECF No. 221).
      I.       FACTS & PROCEDURAL HISTORY

           The defendants are Whirlpool, which manufactured the plaintiffs’
  Washers, and several retailers who sold them: Lowe’s Home Centers, LLC
  (“Lowe’s”), Sears Holdings Corporation (“Sears”), The Home Depot, Inc. (“Home
  Depot”), Fry’s Electronics, Inc. (“Fry’s”) and Appliance Recycling Centers of
  America, Inc. (“ARC”). In my July 31, 2015 opinion on the defendants’ motion
  to dismiss the plaintiffs’ second amended complaint, I dismissed plaintiffs’
  Magnuson-Moss Warranty Act and unjust enrichment claims against
  Whirlpool. What remain are state law claims of breach of express warranty and
  the implied warranty of merchantability; unjust enrichment as to the
  defendants other than Whirlpool; and violation of consumer protection
  statutes, including the New Jersey Consumer Fraud Act (“NJCFA”). (See ECF
  No. 127)




                                               2
Case 2:12-cv-00089-KM-JBC Document 236 Filed 03/17/17 Page 3 of 64 PageID: 11818




         As relevant here, the plaintiffs have proffered the opinions of three
  experts:
         (a) Ramamirtham Sukumar, PhD, who means to isolate the portion of the
  purchase price of the Washers that is attributable to the Energy Star “price
  premium”;
         (b) Michael J. Dennis, PhD, who conducted a contingent valuation survey
  meant to isolate the portion of the purchase price that is attributable solely to
  the Energy Star label; and
         (c) Cohn Weir, who proposes a model for calculating class-wide “price
  premium” and “energy expense” damages.
         Each of these three has submitted a declaration and expert report in
  support of the plaintiffs’ motion for class certification. (ECF nos. 171—173). In
  response to the defendants’ opposing expert reports, each of the three has
  submitted a rebuttal report. (ECF nos. 184—186).3 Pursuant to Daubert v.
  Men-eli Dow Pharmaceuticals, 509 U.S. 579 (1993), and Federal Rule of
  Evidence 702, Whirlpool, Lowe’s, Sears, and Fry’s (for purposes of this motion,

  3       The plaintiffs previously filed with this Court a motion for class certification. By
  order dated July 25, 2016 (ECF No. 203), I responded to the parties’ request that that
  motion be considered in conjunction with the four motions in limine addressed in this
  opinion. I administratively terminated the class certification motion and instructed the
  plaintiffs to renew that motion, supplementing as appropriate, following my decision
  on the four motions now before me. This is consistent with the Third Circuit’s recent
  directive that “a plaintiff cannot rely on challenged expert testimony, when critical to
  class certification, to demonstrate conformity with Rule 23 unless the plaintiff also
  demonstrates, and the trial court fmds, that the expert testimony satisfies the
  standard set out in Daubert.” In re Blood Reagents Antitrust Litig., 783 F.3d 183, 187
  (3d Cir. 2015). Thus, although the expert and class certification issues are
  intertwined, it seemed best to sort out the Daubert issues first.
          In connection with class certification, the plaintiffs intend to show that the
  requirements of Fed. R. Civ. P. 23(b)(3) are satisfied. By that they mean that
  “questions of law or fact common to class members predominate over any questions
  affecting only individual members,” based in part on the opinions of their damages
  expert, Mr. Weir. Weir calculates “energy expense damages” and “price premium
  damages,” which plaintiffs argue can be calculated on a classwide basis, and thus are
  provable by common evidence. (ECF No. 163 (sealed) at 17, 27)




                                                   3
Case 2:12-cv-00089-KM-JBC Document 236 Filed 03/17/17 Page 4 of 64 PageID: 11819




  the “defendants”) have moved to preclude these three experts from testifying.
  (ECF nos. 198—200)
        Whirlpool, for its part, has proffered an initial report, as well as a
  rebuttal report and a supplemental report, authored by Carol A. Scott, PhD.
  Dr. Scott is offered as an opinion witness critical of Dr. Sukumar’s and Dr.
  Dennis’s price premium estimates, as well as Mr. Weir’s damages model. The
  plaintiffs assert that Scott’s rebuttal and supplemental reports were untimely
  filed under Federal Rule of Civil Procedure 26 (“Rule 26”) and this Court’s
  January 6, 2015 Scheduling Order (ECF No. 103), as modified by the February
  8, 2016 Order Extending Deadlines (ECF No. 174, hereinafter, the “Scheduling
  Order”). The plaintiffs have therefore filed a cross-motion (ECF No. 221) to
  exclude Dr. Scott’s rebuttal and supplemental reports as a sanction under
  Federal. Rule of Civil Procedure 37 (“Rule 37”).

      II.    DEFENDANTS’ MOTIONS INLIMLNE
              A.       Legal Standards: Admissibility Under Rules 702 and 703

        Federal Rule of Evidence 702 (“Rule 702”) states certain prerequisites to
  the admission of expert testimony:

               A witness who is qualified as an expert by knowledge, skill,
               experience, training, or education may testify in the form of
               an opinion or otherwise if:
                       (a) the expert’s scientific, technical, or other
                       specialized knowledge will help the trier of fact to
                       understand the evidence or to determine a fact in
                       issue;
                       (b) the testimony is based on sufficient facts or data;
                       (c) the testimony is the product of reliable principles
                       and methods; and
                       (d) the expert has reliably applied the principles and
                       methods to the facts of the case.
  Fed. R. Evid. 702.
        The case law has extracted from Rule 702 three essential requirements:
  “qualification, reliability and fit.” Schneider ex rel. Estate of Schneider v. Fried,


                                                4
Case 2:12-cv-00089-KM-JBC Document 236 Filed 03/17/17 Page 5 of 64 PageID: 11820




  320 F.3d 396, 404 (3d Cir. 2003) (citing In re Paoli R.R. Yard PCB Litig., 35 F.3d
  717, 74 1-43 (3d Cir. 1994) (citing Daubed v. Merrell Dow Pharmaceuticals, Inc.,
  509 U.S. 579 (1993))).
         “Qualification refers to the requirement that the witness possess
  specialized expertise.” Schneider, 320 F.3d at 404. This is interpreted liberally:
  “a broad range of knowledge, skills, and training qualify an expert.” Paoli, 35
  F.3d at 741.
        “Reliability” requires that the opinion be “based on ‘the methods and
  procedures of science’ rather than on ‘subjective belief or unsupported
  speculation.” Paoli, 35 F.3d at 742 (citing Daubed, 509 U.S. at 590). Reliability
  is a “flexible” test. Kumho Tire Co., Ltd. v. Carmichael, 526 U.S. 137, 141 (1999)
  (internal citation omitted). The Third Circuit has explained that factors
  “deemed important” for determining reliability include:
                 (1) whether a method consists of a testable hypothesis;
                 (2) whether the method has been subject to peer
                 review; (3) the known or potential rate of error; (4) the
                 existence and maintenance of standards controlling
                 the technique’s operation; (5) whether the method is
                 generally accepted; (6) the relationship of the
                 technique to methods which have been established to
                 be reliable; (7) the qualifications of the expert witness
                 testifying based on the methodology; and (8) the non
                 judicial uses to which the method has been put.

  In re Paoli R.R. Yard PCB Litig., 35 F.3d at 791 n.8. These factors are not
  exclusive, nor must they all be applied in every case. Kumho Tire Co., 526 U.S.
  at 141; Elcock v. Kmart Coip., 233 F.3d 734, 746 (3d Cir. 2000). Rather,
  whether “specific factors are, or are not, reasonable measures of reliability in a
  particular case is a matter that the law grants the trial judge broad latitude to
  determine.” Kumho Tire Co., 526 U.S. at 153.
         “Fit” requires that the expert opinion correspond to the issues in the
  case, i.e., that it be relevant and “assist the trier of fact.” Paoli, 35 F.3d at 742-
  43. “Expert testimony which does not relate to any issue in the case is not
  relevant and, ergo, non-helpful.” Daubed, 509 U.S. at 591 (quoting 3 Weinstein


                                                5
Case 2:12-cv-00089-KM-JBC Document 236 Filed 03/17/17 Page 6 of 64 PageID: 11821




  & Berger   ¶   702[02], p. 702—18). Therefore, “even if an expert’s proposed
  testimony constitutes scientific knowledge, his or her testimony will be
  excluded if it is not scientific knowledge for purposes of the case.” Id. at 743.
        The burden of demonstrating admissibility under Rule 702 falls on the
  proponent: “The party offering the proposed expert testimony bear[] the burden
  of establishing the admissibility of the testimony by a preponderance of the
  evidence.” In re Human Tissue Products Liab. Litig., 582 F. Supp. 2d 644, 655
  (D.N.J. 2008) (citing Padillas v. Stork-Gamco, Inc., 186 F.3d 412, 417-18 (3d
  Cir. 1999); see also Oddi u. Ford Motor Co., 234 F.3d 136, 144 (3d Cir. 2000)
  (quoting Daubert, 509 U.S. at 593 n. 10). That inquiry requires the court to
  “examine the expert’s conclusions in order to determine whether they could
  reliably follow from the facts known to the expert and the methodology used.”
  Heller v. Shaw Indus., Inc., 167 F.3d 146, 153 (3d Cir. 1999).
        The District Court, exercising its sound discretion, serves as a gatekeeper
  to prevent expert testimony that falls short of these requirements from reaching
  the jury. Daubert, 509 U.S. at 592-95. Nevertheless, “[t]he Rule’s basic
  standard of relevance      .   .   .   is a liberal one.” Id. at 587. Within the principles
  outlined above, a judge has “the same broad latitude when it decides how to
  determine      reliability as it enjoys           in respect to    its ultimate reliability
  determination.” Kumho Tire, 526 U.S. at 142 (internal citation omitted)
  (emphasis in original).
        Federal Rule of Evidence 703 (“Rule 703”) sets forth the requirements
  relating to the underlying facts or data on which an expert may base his or her
  opinion. It provides:
                  An expert may base an opinion on facts or data in the
                  case that the expert has been made aware of or
                  personally observed. If experts in the particular field
                  would reasonably rely on those kinds of facts or data
                  in forming an opinion on the subject, they need not be
                  admissible for the opinion to be admitted. But if the
                  facts or data would otherwise be inadmissible, the
                  proponent of the opinion may disclose them to the jury
                  only if their probative value in helping the jury

                                                       6
Case 2:12-cv-00089-KM-JBC Document 236 Filed 03/17/17 Page 7 of 64 PageID: 11822




               evaluate the opinion substantially outweighs their
               prejudicial effect.

  Fed. R. Evid. 703.
        The Third Circuit announced in In re Paoli that “when a trial judge
  analyzes whether an expert’s data is of a type reasonably relied on by experts
  in the field, he or she should assess whether there are good grounds to rely on
  this data to draw the conclusion reached by the expert.” 35 F.3d at 749. In
  making that assessment, Paoli held, a trial judge has considerable latitude. The
  judge can “take into account the particular expert’s opinion that experts
  reasonably rely on that type of data, as well as the opinions of other experts as
  to its reliability, but the judge can also take into account other factors he or
  she deems relevant.” Id. at 748.

               B.      Defendants’ Motion to Strike the Opinions of Dr. Sukumar
          The defendants’ first motion attacks the opinions of the plaintiffs’ “price
   premium” expert, Dr. Sukumar, under Daubed’s reliability and fit
   requirements. (Defendants do not question Dr. Sukumar’s qualifications.)
          The defendants first challenge Dr. Sukumar’s proprietary method of
   conjoint analysis, called “ASEMAP”. Second, they challenge Dr. Sukumar’s
   conclusions and opinions, which they contend are inconsistent with market
   reality. Third, the defendants object to the composition of Dr. Sukumar’s
   surveyed population and his exclusion of certain data when arriving at his
   conclusions. Finally, the defendants argue that, under Daubed and Comcast
    Corp. v. Behrend,   —   U.S.      ,   133 S. Ct. 1426, 1433 (2013), Dr. Sukumar’s
   opinion must be excluded because his conjoint analysis does not “fit” the
   plaintiffs’ theory of liability.
          1. Overview of Dr. Sukumar’s Analysis
        The plaintiffs asked Dr. Sukumar to “estimate the price premium, if any,
  attributable to the Energy Star logo” on the Washers “through the use of a




                                                     7
Case 2:12-cv-00089-KM-JBC Document 236 Filed 03/17/17 Page 8 of 64 PageID: 11823




  conjoint analysis.” (Sukumar Br. 1 (quoting Sukumar Report 4))4 Conjoint
  analysis involves a survey in which respondents are asked “to make a series of
  trade-offs between different product features and prices.” The object and result
  of conjoint analysis is to “determine the aggregated values customers attach to
  different features of a product.” (Sukumar Br. 4 (quoting Sukumar Report 4—
  5)); Sukumar Opp. 4)
         Dr. Sukumar holds an MBA and PhD in marketing and statistics. He
  identifies conjoint analysis, and in particular ASEMAP, as the appropriate tool
  to isolate the price premium solely attributable to the Energy Star logo.
  Conjoint analysis, he says, “is designed to value a specific product feature,
  even in circumstances where the feature’s price is not expressly set by the
  manufacturer or retailer.” (Sukumar Opp. 3; see also Sukumar Report 4—5)
  Here, the Washers possess many features of potential value to consumers; he
  identified 19 such features through a series of consumer focus groups.
  (Sukumar Opp. 5) Thus he settled on a specific form of conjoint analysis called
  Adaptive Self-Explication of Multi-Attribute Preferences (“ASEMAP”), because it
  is “specifically designed to be capable of handling surveys that incorporate a
  number of product features.” Other forms of conjoint analysis, he reasoned,
  were inferior in this case because they performed less accurately than ASEMAP

         The following abbreviations will be used to cite Dr. Sukumar’s submissions and
  the briefing on the defendants’ motion to strike his opinion testimony:
     •   “Sukumar Report” = Declaration and Expert Report of Dr. R. Sukumar, Dec. 28,
         2015, Deckant Deci. Ex. R, ECF No. 2 15-18
     •   “Sukumar Rebuttal” = Rebuttal Expert Report of Ramamirtham Sukumar,
         Ph.D., Deckant Deci. Ex. 5, ECF No. 2 15-19
     •   “Sukumar Br.” = Brief in Support of Motion to Strike the Opinions of Dr.
         Sukumar by Defendants Whirlpool Corporation, Lowe’s Home Centers, LLC,
         Sears Holdings Corporation, and Fry’s Electronics, Inc., ECF No. 198
     •   “Sukumar Opp.” = Plaintiffs’ Opposition to Motion to Strike the Opinions of Dr.
         Sukumar by Defendants Whirlpool Corporation, Lowe’s Home Centers, LLC,
         Sears Holdings Corporation, and Fry’s Electronics, Inc., ECF No. 214
     •   “Sukumar Reply” = Reply Brief in Support of Motion to Strike the Opinions of
         Dr. Sukumar by Defendants Whirlpool Corporation, Lowe’s Home Centers, LLC,
         Sears Holdings Corporation, and Fry’s Electronics, Inc., ECF No. 228

                                                8
Case 2:12-cv-00089-KM-JBC Document 236 Filed 03/17/17 Page 9 of 64 PageID: 11824




  in the literature, had not been subject to peer review, or are better suited to
  products with a smaller number of features than those identified here. (Id. 4—5;
  Sukumar Report 8-9)
        Dr. Sukumar’s analysis drew on an online survey of a random sample of
  564 purchasers of washing machines. He compared the values for the Washers
  (represented as costing being $300 and $500) with and without the Energy Star
  logo to calculate, via ASEMAP, the value attributable to the logo alone. His
  analysis concluded that the logo had a value of $180.39, or “44.3% of the
  average clothes washing machine price of $406.99.” (Sukumar Opp. 7;
  Sukumar Report 14—17). This result represented an average across the
  respondent sample and also takes into account differences in how individual
  respondents value a dollar. (Sukumar    Opp.    6; Sukumar Report 14-16)
        1) Objection to ASEMAF

        The defendants specifically argue that ASEMAP is not a reliable
  methodology capable of satisfying Daubed because it is “a little-known
  proprietary method that is rarely used—if at all—outside [Dr. Sukumar’sl own
  [consulting] firm.” (Sukumar Br. 11) Additionally, the defendants argue,
  ASEMAP has been peer-reviewed in only one article, authored by its inventor.
  And even that article never specifically discusses the use of the ASEMAP
  methodology for determining “price premiums” (Id. 16). Defendants add that
  Dr. Sukumar’s conjoint analysis cannot be replicated because ASEMAP is a
  proprietary methodology that employs an undisclosed algorithm. (Id. 14)
        The plaintiffs respond generally that methodological criticisms of
  consumer surveys go to the weight of the evidence, not to its admissibility.
  (Sukumar Opp. 8—9). More specifically, they say that conjoint analysis is a
  “widely-accepted survey research method for measuring consumer
  preferences,” as numerous courts have acknowledged. (Id. 9—10). The
  defendants’ challenge to ASEMAP, they argue, is based only on the
  unsupported opinion of the defendants’ expert Dr. Peter E. Rossi. (Id. 11) To



                                              9
Case 2:12-cv-00089-KM-JBC Document 236 Filed 03/17/17 Page 10 of 64 PageID: 11825




  exclude Dr. Sukumar’s testimony, then, would usurp the jury’s prerogative to
  find one expert more persuasive than another. (Id. 11)
        The plaintiffs point to other federal courts’ acceptance of conjoint
  analysis, if not ASEMAP specifically, “as a valid method of estimating changes
  in market value for purposes of performing damage calculations in litigation.”
  (Id. 12 (citing TV Interactive Data Corp. v. Sony Corp., 929 F. Supp. 2d 1006,
  1022 (N.D. Cal. 2013) (defendant’s challenge to conjoint surveys as
  fundamentally flawed and unreliable go to the weight of the survey rather than
  admissibility); Microsoft Corp. v. Motorola Inc., 904 F. Supp. 2d 1109, 1120
  (W.D. Wash. 2012) (conjoint analysis critiques went “to issues of methodology,
  survey design, reliability, and critique of conclusions, and therefore go to the
  weight of the survey rather than admissibility”)).
        The plaintiffs seemingly concede that that the only peer-reviewed journal
  article evaluating ASEMAP is one written by its inventor, Professor Srinivasan.
  That circumstance does not, however, detract from the article’s validity in the
  plaintiffs’ view. Professor Srinivasan is said to be “an undisputed expert in the
  conjoint analysis technique.” (Sukumar Br. 15) Plaintiffs also seem to
  acknowledge that the article does not specifically discuss ASEMAP in relation
  to the calculation of price premiums. Nevertheless, they say, the article more
  generally demonstrates the ASEMAP method’s external and predictive validity.
         Plaintiffs also note that Daubert cites publication as a factor, but does
  not require or unduly stress it: “Publication (which is but one element of peer
  review) is not a sine qua non of admissibility; it does not necessarily correlate
  with reliability,   .   .   .   and in some instances well-grounded but innovative
  theories will not have been published.             .   .   .“   509 U.S. at 593—94. Peer review
  aside, Dr. Sukumar states that he himself has employed ASEMAP extensively,
  both in and outside the context of litigation. Whether or not its accuracy has
  been established “exclusively through academic journals,” ASEMAP has
  withstood the test of time without revealing significant flaws. (Id. 12)




                                                             10
Case 2:12-cv-00089-KM-JBC Document 236 Filed 03/17/17 Page 11 of 64 PageID: 11826




        As for replicability, the plaintiffs point out that although ASEMAP is
  proprietary, it is available to anyone who purchases a software license.
  Therefore, they say, the defendants could have independently verified or
  challenged Dr. Sukumar’s opinions, but did not do so. If skeptical of the
  software itself, defendants could have moved to compel Dr. Sukumar to
  produce ASEMAP’s confidential source code, but again they did not. The
  discovery they did request, they got: Dr. Sukumar directed defendants to a
  peer-reviewed publication that guides readers through ASEMAP, produced his
  complete worksheets and datasheets, and detailed the design and
  implementation of his survey methods in his expert report. (Id. 12—13)
        I find the plaintiffs’ arguments persuasive. Dr. Sukumar’s reports are
  well-reasoned, and there is ample evidence that his methods are sufficiently
  testable and accepted in the relevant scientific community, as well as the legal
  community. Conjoint analysis has won acceptance from courts and legal
  commentators. See, e.g., ConAgra Foods, Inc., 844 F.3d 1121(9th Cir. 2017)
  (acknowledging that “marketing researchers have used conjoint analysis since
  the early 1970’s to determine the values consumers ascribe to specific
  attributes of multi-attribute products and to understand the features driving
  product preferences,” and holding that conjoint analysis is sufficiently reliable
  to be used to calculate class-wide damages); TV Interactive Data Corp. v. Sony
  Corp., 929 F. Supp. 2d 1006, 1022 & n.6 (N.D. Cal. 2013) (in product
  mislabeling class action, determining that conjoint analysis is accepted in the
  relevant community and acknowledging “a handful of cases to demonstrate
  that conjoint analysis is increasingly used in litigation”); Sukumar Opp. 10—11
  (collecting cases where experts’ conjoint analysis was accepted).
        ASEMAP, the proprietary form of conjoint analysis that Dr. Sukumar
  employs, is not specifically discussed in the case law, and according to the
  defendants, it boasts just one inventor-authored peer-reviewed article. (Dr.
  Sukumar’s rebuttal report adds citations to two peer-reviewed articles in
  support of the claim that ASEMAP has “external and predictive validity.”


                                             11
Case 2:12-cv-00089-KM-JBC Document 236 Filed 03/17/17 Page 12 of 64 PageID: 11827




  (Sukumar Rebuttal 9))5 In the case of a technique that is a variant of a known
  technique, however, “the relationship of the technique to methods which have
  been established to be reliable”—here, conjoint analysis—may be considered. In
  re Paoli, 35 F.3d at 791 n.8. Daubed itself recognized that “[s]ome propositions
      are too particular, too new, or of too limited interest to he published.” 509
  U.S. at 593. Dr. Sukumar states, without effective rebuttal, that ASEMAP is
  simply a variant or an elaboration of the widely accepted conjoint analysis
  methodology. That proposition is corroborated by the fact that ASEMAP’s
  inventor is Professor Srinivasan, who would know. Srinivasan has been
  recognized by federal courts as “coin[ing] the term ‘conjoint analysis’,” TV
  Interactive Data Corp., 929 F. Supp.2d at 1020, and as the “father of conjoint
  analysis.” Visteon Glob. Techs., Inc. v. Garmin Int’l, Inc., No. 10-CV-10578, 2016
  WL 5956325, at *2 (E.D. Mich. Oct. 14, 2016). According to plaintiffs, he has
  “authored 24 peer-reviewed research papers on the topic.” (Sukumar Br. 15)
          Dr. Sukumar states that ASEMAP has proven reliable outside of the
  context of litigation. It has been used in over 100 commercial studies and he
  has personally employed ASEMAP in “several commercial studies over the last
  8 years” (Sukumar Report 6, 9). ASEMAP has also been acknowledged as
  reliable in legal scholarship, if not in the case law. See David Franklyn & Adam
  Kuhn, The Problem of Mop Heads in the Era of Apps: Toward More Rigorous
  Standards of Value Apportionment in Contemporary Patent Law, 98 J. Pat. &
  Trademark Off. Soc’y 182, 218—19 (2016) (“[A]dvances in research software,
  such.   .   .   Asemap, have made it much easier to design reliable indirect elicitation


  5       To the extent the defendants disagree that these articles validate ASEMAP, see,
  e.g., Sukumar Br. 17 n. 13 (arguing that one of the articles Dr. Sukumar cites in his
  rebuttal report never mentions ASEMAP), they are free to pursue this on cross-
  examination as a weakness impacting the weight of Dr. Sukumar’s opinion. And, to
  the extent the defendants take issue with the fact that Dr. Srinivasan’s peer-reviewed
  article does not specifically advocate ASEMAP as “a valid methodology for isolating a
  historic price premium,” that too goes to weight, not admissibility. See, e.g., In re Paoli
  R.R. Yard PCB Litig., 35 F.3d 717, 742 (3d Cir. 1994) (“Rule 702 does not incorporate
  the common law Frye rule in which expert testimony is admissible only insofar as it is
  based on a technique generally accepted in the scientific community.”).

                                                   12
Case 2:12-cv-00089-KM-JBC Document 236 Filed 03/17/17 Page 13 of 64 PageID: 11828




   surveys. These programs can present a series of ‘bundled’ features comprising
   a product and ask the respondent to choose the one they would be most likely
   to purchase.   .   .   .   Reliable, objective data then coalesces around individual
  product feature valuations.” (emphases added)) •6
         As for the defendants’ ability to replicate Dr. Sukumar’s ASEMAP
   analysis, Daubert explains that “a key question to be answered in determining
   whether a theory or technique is scientific knowledge that will assist the trier of
   fact will be whether it can be (and has been) tested.” 509 U.S. at 593. The Third
   Circuit refers to this consideration as requiring that an expert present a
   “testable hypothesis.” In re Paoli, 35 F.3d at 791 n.8.
         As defendants view this requirement, it seems to hinge on whether the
   opposing party has successfully replicated the proffered expert’s results. (See
   Sukumar Br. 14—15) Surely that goes too far. Courts have interpreted
   Daubert’s testing factor as one of replicability, not replication. See, e.g., Zenith
   Elecs. Corp. v. WH-TVBroad. Corp., 395 F.3d 416, 419 (7th Cir. 2005) (“An
   expert must offer good reason to think that his approach produces an accurate
   estimate using professional methods, and this estimate must be testable.
   Someone else using the same data and methods must be able to replicate the
   result.”). To the extent defendants are arguing that they hold the keys to
   admissibility—i.e., that this evidence cannot be admitted unless they have
   reproduced Dr. Sukumar’s testing—I cannot accept their analysis. And at any
   rate, the defendants have never purchased a license, sought discovery of the
   source code, or shown any inclination to reproduce Dr. Sukumar’s analysis.
  The mere possibility that they could do so, or that they believe their efforts to
   do so, if undertaken, would have been thwarted, does not detract from the
   testability or validity of Dr. Sukumar’s conclusions.


   6     Franklin and Kuhn discuss Professor Srinivasan’s conjoint analysis in TVI Data
  Corp. at length. Their discussion indicates that Professor Srinivasan in fact used
  ASEMAP in that case, although the Court’s opinion does not specifically identify that
  ASEMAP was used. See Franklin & Kuhn, supra, at 208 (citing Declaration of Dr. V.
  Srinivasan, TVI Data Corp. v. Sony Corp., 2013 WL 496310 (N.D. Cal., Jan. 18, 2013)).

                                                       13
Case 2:12-cv-00089-KM-JBC Document 236 Filed 03/17/17 Page 14 of 64 PageID: 11829




        I am thus enjoined to consider whether Dr. Sukumar’s methodology
  involves testing of a hypothesis that is testable. The Advisory Committee notes
  to Federal Rule of Evidence 702, for example, describe Daubert’s testing factor
  as asking “whether the expert’s theory can be challenged in some objective
  sense, or whether it is instead simply a subjective, conclusory approach that
  cannot reasonably be assessed for reliability.” Fed. R. Evid. 702, Advisory
  Committee Notes, 2000 Amendments (emphasis added). To vary the
  terminology, “Testability” has also been described as “falsifiability.” A
  proposition is “falsifiable” if it is “capable of being proved false; defeasible.”’
  United States v. Mitchell, 365 F.3d 215, 235 (3d Cir. 2004) (citations omitted)).
                                                                         7
         Of course a competing expert’s performance of the same test under the
  same conditions would be highly probative. But we do not have that here.
  Rather we have contending results that are the product of contending
  methodologies.
         At the Daubert stage, I am to assess the scientific nature of the
  challenged theory or technique, not to take a side in a debate among experts
  about the results. Here, I have already concluded that ASEMAP has a sufficient
  pedigree— i.e., that it passes muster under the Daubert considerations of peer
  review, standardization, judicial and non-judicial acceptance, and its
  relationship to other established reliable techniques (particularly, the conjoint
  analysis technique of which it is a part). See Paoli, 35 F.3d at 791 n.8. I think
  these considerations, in addition to supporting the reliability of the method,
  tend to establish that ASEMAP is testable, in the sense of producing results
  susceptible of an objective challenge.
         Dr. Sukumar’s conclusion is that consumers attach a value, in the form
  of a price premium, to the Energy Star logo on the Washers. (See Sukumar



          “Falsifiability,” as a basis to distinguish science from non-science, is a term that
  has passed into general usage. It has its origin, so far as I am aware, in Karl Popper’s
  philosophy of science. See Stanford Encyclopedia of Philosophy, “Karl Popper” § 7,
  https: / / plato. stanford. edu / entries / popper / #ScieKnowHistPred; id. “Scientific Method”
  § 3.3, https: / / plato. stanford. edu / entries / scientific-method / #PopFal.

                                                    14
Case 2:12-cv-00089-KM-JBC Document 236 Filed 03/17/17 Page 15 of 64 PageID: 11830




  Report 4) Defendants may attack that conclusion, employing ASEMAP or some
  alternative form of analysis. My point here is that it is capable of being tested.
        Although the point is not critical to my analysis, Judge Brown’s decision
  in United States u. Ewell suggests that defendants are making a category
  mistake in arguing that everything about Dr. Sukumar’s software, as opposed
  to the ASEMAP methodology itself, must pass the Daubert test. 252 F. Supp.
  2d 104 (D.N.J. 2003), aff’d sub nom. United States v. Adams, 189 F. App’x 120
  (3d Cir. 2006). In Ewell, a criminal defendant challenged the government’s use
  of specific materials kits for performing “PCR/ STS typing” DNA analysis to
  identify the defendant. In an opinion admitting the evidence, Judge Brown
  explained:
               The hypothesis of PCR/STR DNA typing is that with
               proper procedures an expert can determine the allelic
               types of given DNA samples at the thirteen core STR
               loci..   The Court is not persuaded that the claimed
                        .



               lack of validation of the efficacy of the kits has any
               effect on whether PCR/STR typing has a testable
               hypothesis. Contrary to defendant’s assertions, the.
               kits merely provide the materials necessary to perform
               the PCR amplification process, and thus, the kits need
               not independently meet the Daubert standard of
               admissibility. Accordingly, challenges as to the efficacy
               and reliability of the materials kits go to the weight of
               the evidence and not to admissibility.
  252 F. Supp. 2d at 111.
        But the government in Ewell, like the plaintiffs here, had a backup
  argument. It also offered a peer reviewed article attesting to the validity of the
  challenged kits. Judge Brown dealt with that backup argument as well:
               Moreover, even if the kits were independently subject
               to Daubert, defendant’s argument is not well-founded.
               The Government produced as exhibit 7 a peer reviewed
               article reporting a study of various commercially
               available amplification kits. The article concludes,
               inter alia, that Profiler Plus and COfiler kits “can be
               used to amplify and type STR loci successfully from
               DNA derived from human biological specimens. The
               current study demonstrates that the procedures used


                                              15
Case 2:12-cv-00089-KM-JBC Document 236 Filed 03/17/17 Page 16 of 64 PageID: 11831




              to type STR loci using these commercial kits are
              robust and valid.”
  Id.
        Of course, the defendants might have attempted to dissect the ASEMAP
  source code as part of an attack on plaintiffs’ case, but they have not done so. I
  do not think the results of such a dissection are a prerequisite to my ruling on
  admissibility. Dr. Sukumar’s analysis remains falsifiable. Defendants may test
  his conclusions by comparing them to the choice-based conjoint method that
  their own expert, Dr. Peter Rossi, endorses in his critique of Dr. Sukumar’s
  report, or by some other means. (See Rossi Report 34-35) I may even assume
  the validity of applying Daubert to the details of the ASEMAP methodology. For
  the reasons expressed above, that methodology, like the kits in Ewell, has
  sufficient support in scientific literature and practice, and it has not been
  effectively challenged.
        In short, even assuming ASEMAP is as tethered to Dr. Sukumar’s
  consulting business as the defendants allege, the plaintiffs have presented
  sufficient indicia of reliability to assure me that ASEMAP—both generally and
  as Dr. Sukumar applies it—is not so substantively flawed as to render Dr.
  Sukumar’s opinions inadmissible. See Koninkjjke Philips Elecs. N. V. v. Hunt
  Control Sys., Inc., No. CV113684SRCCLW, 2016 WL 3545529, at *5 (D.N.J.
  June 29, 2016) (“In the context of survey evidence, ‘mere technical flaws’ in
  methodology go to ‘the weight accorded a survey, not its admissibility.”’
   (quoting Fancaster, 832 F. Supp. 2d at 402)). ASEMAP’s shortcomings,
  whatever they may be, are fodder for cross-examination.

         2) Criticisms of Survey Methodology, Population, and Results

         Defendants’ main contention is that Dr. Sukumar’s conclusions flunk
   the reality test. According to the defendants, most washers, whether they
   boasted an Energy Star logo or not, cost more than $400 during the relevant
   time period. Subtracting Dr. Sukumar’s calculated $180 Energy Star price
   premium from the prevailing price of a washing machine, however, yields an


                                              16
Case 2:12-cv-00089-KM-JBC Document 236 Filed 03/17/17 Page 17 of 64 PageID: 11832




  unrealistically low price in the range of $120 to $227. (Sukumar Br. 17—21;
  Sukumar Reply 6) Thus, say the defendants, Dr. Sukumar’s analysis cannot be
  correct, and must be the product of an unreliable methodology. (Id.)
        One cause, or perhaps a symptom, of that unreliability is said to be Dr.
  Sukumar’s exclusion of more than 70% of his survey respondents (in
                               ) from his sample. Were those
  particular, “Price Reversal” respondents
                               8
  responses considered, say defendants, Dr. Sukumar’s estimated price premium
  would have been even more absurdly high. They point out that the plaintiffs
  have failed to “cite a single case in which a court admitted a survey despite the
  expert’s exclusion of the majority of data.” (Sukumar Br. 21—22; Sukumar
  Reply 7) The defendants also object to Dr. Sukumar’s choice to survey
  consumers who had recently purchased high-efficiency (“HE”) washing
  machines, which allegedly cost hundreds of dollars more than the Washers at
  issue. (Sukumar Report 22—25)
        Responding to the defendants’ claims that the $180 price premium defies
  market reality, the plaintiffs explain that conjoint analysis often assigns values
  to individual attributes which, if added together, would exceed the value of the
  product. Dr. Sukumar’s exclusion of Price Reversal data, they say, is a
  technique that the defendants’ own expert, Dr. Rossi, supports. It also results
   in a more conservative price premium estimate, draws from a higher quality
   respondent pooi, and has been used in prior cases. (Id. 18—19 (citing Sukumar
   Rebuttal at 12—13))
         For Dr. Sukumar’s selection of his survey population, the plaintiffs offer
   a laundry list of explanations: Dr. Sukumar employed a widely-used online
   marketing tool; screened respondents to ensure representativeness of the
   putative class (i.e., household decision-makers who purchased washing
   machines); conducted the type of survey routinely used and accepted in




   8     Dr. Sukumar excluded from his data set the answers of respondents who
   seemingly preferred higher prices to lower prices.

                                              17
Case 2:12-cv-00089-KM-JBC Document 236 Filed 03/17/17 Page 18 of 64 PageID: 11833




  litigation; and the defendants’ technical criticisms go only to the weight of Dr.
  Sukumar’s testimony. (Sukumar Opp. 18—22)
        Here, I am guided by the principle that Daubert is essentially results
  agnostic. “[I}n deciding whether an expert’s report meets the reliability factor of
  a Daubert and Rule 702 analysis, [this] Court is not to weigh the evidence
  relied upon or determine whether it agrees with the conclusions reached
  therein.” Walker v. Gordon, 46 F. App’x 691, 695 (3d Cir. 2002). In most
  respects, the defendants’ contentions amount to attacks on the expert’s
  conclusions. They cannot be refashioned into Daubert attacks by the facile
  method of saying that such unlikely results could only have been the product
  of unscientific methods. Such arguments go to the weight of the expert’s
  testimony, not to its admissibility.
        The thrust of the challenge here is that Dr. Sukumar excluded from his
  data set the answers of respondents who seemingly preferred higher prices to
  lower prices. This is asserted as a challenge to the reliability of ASEMAP. (See
  Rossi Report 30 (“Dr. Sukumar excludes more than 70 perfect of his
  respondents from his WTP computations. It seems that the ASEMAP procedure
  and the survey designed by Dr. Sukumar cannot produce data that accord with
  the common sense notion that people prefer lower prices to high prices. In my
  opinion, this casts grave doubt on the reliability and usefulness of Dr.
  Sukumar’s survey data.”)) Ironically, defendants attack the exclusion of
  responses on the grounds that including them would result in a higher price
  premium—indeed, one that would be self-evidently too high, and call the whole
  enterprise into question.
        As defendants see it, this would be a case of what statistical wags have
  called “torturing the data until it confesses.”
                                      9 It may alternatively be viewed,

  9      Some version of the expression has been credited to economist Ronald Coase,
  and to Darrell Huff’s classic How to Lie With Statistics (1954). If one posits a
  hypothesis, gathers data, discards all data that does not comply with the hypothesis,
  then QED, the hypothesis will be proven. That abusive practice, however, must be
  distinguished from the common and valid practice of eliminating junk from the data
  set.

                                               18
Case 2:12-cv-00089-KM-JBC Document 236 Filed 03/17/17 Page 19 of 64 PageID: 11834




  however, as the implementation of a methodological assumption—one that
  surely may be challenged on cross-examination, but not an unreasonable one.
  As I understand Dr. Sukumar’s selection process, it presupposes that what we
  are measuring are consumer choices rationally based on price. If that
  assumption is accepted, then his claim (I exaggerate to illustrate a point) is
  that he has done the equivalent of throwing out ballots voting for both
  candidates, or recording a vote for Mickey Mouse. Looking at it from another
  perspective, we might say that scientific methods are being applied to the
  expressed preferences of consumers who are not always entirely rational or
  analytic about their choices (or their responses to surveys). In short, we are
  building with crooked timber, but build we must. Whether the resulting
  structure is too rickety to withstand the wrecking ball of cross-examination is a
   separate question.’°
         I agree with plaintiffs that the defendants’ arguments here largely depend
   on disagreement with Dr. Sukumar’s conclusions. Such substantive
   disagreement is not the correct focus of a Daubert motion. Jama v. Esmor Corr.
   Serus., Inc., No. 97-3093 DRD, 2007 WL 1847385, at *27 (D.N.J. June 25,
   2007) (“The Supreme Court in Daubert has stated that the focus of the inquiry
   should be solely on principles and methodology, not on the conclusions that
   they generate.” (citing Daubert, 509 U.S. at     596)).11



   10      For example, plaintiffs’ statement that conjoint analysis often assigns values to
   individual attributes which, if added together, would exceed the value of the product,
   seems to be more of a restatement of the defendants’ criticism than an answer to it.
   That consumers’ valuations of the product’s features add up to more than 100% may
   be a fertile area for cross-examination or rebuttal. But the fact that not all consumers
   do the necessary math does not mean that their expressed preferences have no
   validity; I take it as a given that their preferences, ill-considered or not, are what we
   are measuring when we do conjoint analysis. Thus these are not grounds for Daubert
   exclusion, in my view.
   11     For the proposition that courts will exclude a survey where the majority of data
   has been excluded, defendants cite Brokerage Concepts, Inc. v. U.S. Healthcare, Inc.,
   140 F.3d 494, 517 n.14 (3d Cir. 1998). There, however, the Third Circuit merely
   discussed in dicta why it believed the district court had been wrong to admit a survey
   under Fed. R. Evid. 803(24) (now Fed. R. Evid. 807(a)), which permits hearsay where
   there are “circumstantial guarantees of trustworthiness” based on “accordance with
                                                  19
Case 2:12-cv-00089-KM-JBC Document 236 Filed 03/17/17 Page 20 of 64 PageID: 11835




        The defendants remain free to argue that Dr. Sukumar manipulated his
  data to produce a more plausible result, inappropriately excluded data from
  respondents who “prefer higher prices to lower prices and [therefore] don’t
  value the Energy Star logo at all,” or drew from a minority population not
  representative of the putative class.’
                                 2 The issue now, however, is not one of the
  opinion’s ultimate persuasiveness, but of its admissibility. “The judge should
  only exclude evidence if the flaw is large enough that the expert lacks good
  grounds for his conclusion.” Jama, 2007 WL 1847385, at *27 (citation and
  internal quotation marks omitted). See also Microsoft Corp. v. Motorola, Inc.,
  904 F. Supp. 2d 1109, 1120 (W.D. Wash. 2012) (declining to exclude Dr.
  Sukumar’s opinion based on claims that his survey was unreliable and used a
  non-representative sample because “[tjechnical inadequacies in a survey,
  including the format of the questions or the manner in which it was taken,
  bear on the weight of the evidence, not its admissibility.” (quoting Fortune
  Dynamic v. Victoria’s Secret Stores Brand Management, Inc., 618 F.3d 1025,
   1038 (9th Cir.2010)); Hartle v. FirstEnergy Generation Coip., No. CIV.A. 08—


  generally accepted.  . principles.” This standard is not identical to the Daubert
                           .



  standard. Regardless, the Brokerage Concepts court explained that the challenged
  survey in that case involved calling and posing questions to just 20 people, used
  improper framing of questions, and excluded data without any statistical basis for
  doing so. The entire survey in that case suffered from significantly more egregious
  flaws than those the defendants claim here.
  12      Defendants cite cases finding surveys inadmissible, but those surveys had
  significantly greater, and less debatable, flaws. See Pittsburgh Press Club v. United
   States, 579 F.2d 751, 759 (3d Cir. 1978) (survey excluded as hearsay because it “was
  not scientifically designed,” respondents were all interested in the litigation and “told
  the precise nature of the litigation and the purpose of the survey,” and therefore the
  survey “suffer[ed] from a severe dearth of any circumstantial guarantees of
  trustworthiness.”); J & J Snack Foods, Corp. v. Earthgrains Co., 220 F. Supp. 2d 358,
  372 (D.N.J. 2002) (survey to determine whether trademark was descriptive excluded,
  in part, because it was directed to consumers at a shopping mall even though the
  product was sold only to commercial distributors in the market); Menasha Corp. v.
  News Am. Mktg. In-Store, Inc., 238 F. Supp. 2d 1024, 1030 (N.D. 111. 2003) (survey held
  unreliable where, among other flaws, the “universe’ of potential respondents consisted
  entirely of individuals and companies that [the expert] knew through his work as a
  journalist,” and the expert “did not make any attempt to select a sample to
  approximate the relevant characteristics of the target population.”).

                                                20
Case 2:12-cv-00089-KM-JBC Document 236 Filed 03/17/17 Page 21 of 64 PageID: 11836




   1019, 2014 WL 1317702, at *6 (W.D. Pa. Mar. 31, 2014) (excluding a
  “fundamentally flawed” survey that “would not give the jury a proper basis for
  determining damages,” but declining to exclude a survey suffering only from
  “errors of a technical nature that go to the weight of the survey”).
         Dr. Sukumar proffers what he plausibly characterizes as “good grounds”
  for his population and sample selection.’
                                3 (Sukumar Opp. 18—22; Sukumar
  Rebuttal Report 7—8, 12—15) To the extent defendants do not accept his
  contentions, I direct them to “the traditional and appropriate means of
  attacking shaky but admissible evidence”: “Vigorous cross-examination,
  presentation of contrary evidence, and careful instruction on the burden of
  proof.” Daubert, 509 U.S. at 596. If Dr. Sukumar could be shown to have
  selected a misleading sample, to have achieved results that add up to more
  than 100%, or to have implied a counterintuitively low price for a non-Energy
  Star washer, that might prove harmful to the plaintiffs’ case. Such issues,
  however, are for the finder of fact.


         3) Whether Dr. Sukumar’s Price Premium Analysis Fits the Facts of the
            Case and Plaintiffs’ Theory of Liability
        The final error the defendants assign to Dr. Sukumar’s opinions is that
  his results do not “fit” the facts of the case or the putative class’s particular
  theory of liability. Therefore, the defendants urge, Dr. Sukumar’s opinions are
  inadmissible under Daubert and Comcast Corp. v. Behrend, 133 S. Ct. 1426,
  1433, 185 L. Ed. 2d 515 (2013). (Sukumar Br. 25—28)
        Specifically, the defendants argue that Dr. Sukumar’s price premium
  only measures respondents’ subjective “willingness to pay” for the Energy Star
  logo, and not “what retailers actually charged putative class members in 2009


  ‘3      See In re Paoli R.R. Yard PCB Litig., 35 F.3d 717, 744 (3d Cir. 1994) (“The
  grounds for the expert’s opinion merely have to be good, they do not have to be
  perfect. The judge might think that there are good grounds for an expert’s conclusion
  even if the judge thinks that there are better grounds for some alternative conclusion,
  and even if the judge thinks that a scientist’s methodology has some flaws such that if
  they had been corrected, the scientist would have reached a different result.”).

                                               21
Case 2:12-cv-00089-KM-JBC Document 236 Filed 03/17/17 Page 22 of 64 PageID: 11837




  and 2010 for the logo on the Washers in this case.” (Sukumar Br. 26) Framed
  differently, the defendants’ argument is that the plaintiffs’ theory of liability
  properly rests on “the amount that Defendants actually charged purchasers
  when they bought their Washers in 2009 and 2010, while Dr. Sukumar’s ‘price
  premium’ focuses on the ‘value’ that respondents placed on the logo in 2015.”
  (Sukumar Reply 9) Those values, say the defendants, are not at all the same
  thing.
           The defendants also protest Dr. Sukumar’s failure to subtract from his
  price premium any offsetting benefits, such as rebates or utility savings (even if
  those benefits were not as great as a fully Energy Star-qualified washing
  machine would have yielded). (Sukumar Br. 29) The defendants point to
  deposition testimony in which Dr. Sukumar admitted that the Energy Star logo
  is a reflection of efficiency. If Dr. Sukumar’s price premium encompasses both
  the value of the logo and the value of the utility savings from greater efficiency,
  the defendants argue, then he should have offset those efficiency-based
  benefits. Citing In re ConAgra Foods, Inc., 302 F.R.D. 537, 579 (C.D. Cal. 2014),
  and In re POM Wonderful LLC, No. ML 10-02 199 DDP (RZx), 2014 WL 1225184,
  at *5 & n.7 (C.D. Cal. Mar. 25, 2014), the defendants conclude that the “price
  premium” is not merely what the Energy Star logo promised, but rather what
  the Energy Star logo promised and did not deliver. Otherwise, they say, the
  price premium as calculated by Dr. Sukumar would not meet Daubed’s “fit”
  requirement. (Sukumar Reply 11—12)
           The plaintiffs respond, first, that Dr. Sukumar’s opinion meets
  defendants’ objection by incorporating “supply side” factors (here, retail market
  prices) into his analysis. Those supply-side factors include “actual sales data
  and advertising circulars from retailers who sold the Maytag Centennial clothes
  washing machines to determine the price paid by actual purchasers.”
   (Sukumar Opp. 23 (quoting Sukumar Report at 6)). Thus, say plaintiffs,
   Sukumar did consider what retailers actually charged putative class members.
   (Id.)


                                               22
Case 2:12-cv-00089-KM-JBC Document 236 Filed 03/17/17 Page 23 of 64 PageID: 11838




         Second, the plaintiffs respond that Dr. Sukumar did not need to subtract
  benefits received from his price premium, because such benefits were baked
  into the survey questions. Dr. Sukumar’s survey asked respondents to
  compare Maytag washing machines with and without an Energy Star logo, with
  all other factors held constant. (Id. 25) Thus the survey was designed to isolate
  the value consumers attached solely to the Energy Star logo. (Id.)
        The plaintiffs’ explanations are not entirely persuasive, but there is a
  more fundamental issue. The parties are talking past each other. Essentially,
  the plaintiffs are talking about Daubert “fit”; the defendants, about Comcast
  “fit.” At this early stage of the case, Comcast “fit” is a premature consideration.

             a) Comcast versus Daubed

        In Comcast, the Supreme Court held that a putative class failed to satisfy
  Rule 23(b)(3)’s predominance requirement, which requires that the putative
  class’s damages can be calculated on a class-wide basis. The Court found that
  the model proposed by plaintiffs’ expert “failed to measure damages resulting
  from the particular antitrust injury on which petitioners’ liability in this action
  is premised.” Comcast Corp., 133 5. Ct. at 1433. That damages model was built
  on the expert’s assumption that the defendants’ antitrust violations had
  distorted the market and impacted prices in four different ways. By the time
  the trial court ruled on certification, however, only one theory of antitrust
  impact had survived. Id. at 1434. The district court set that aside: it “saw no
  need for respondents to ‘tie each theory of antitrust impact to a calculation of
  damages,” id. at 1433 (internal quotation marks omitted). The Court of
  Appeals, affirming, “concluded that respondents ‘provided a method to measure
  and quantify damages on a classwide basis,’ finding it unnecessary to decide
  ‘whether the methodology [was] a just and reasonable inference or
  speculative.”’ Id.
        The Supreme Court reversed, explaining that “[t]he first step in a
  damages study is the translation of the legal theory of the harmful event into an
  analysis of the economic impact of that event.” Id. at 1435 (quoting Federal

                                              23
Case 2:12-cv-00089-KM-JBC Document 236 Filed 03/17/17 Page 24 of 64 PageID: 11839




  Judicial Center, Reference Manual on Scientific Evidence 432 (3d ed. 2011)
   (emphasis added)). The Supreme Court held that the District Court and the
   Court of Appeals had bypassed that mandatory first step. Id.
         Daubert’s “fit” test for admissibility, however, is not so stringent, and it
  precedes the “first step” [sic] discussed in Comcast. Daubed instructs that for
  expert testimony to “fit” the case, it simply must bear enough of a relation to
   the facts and issues of the case to be of aid to the jury in resolving a dispute of
   fact. Daubed v. Merrell Dow Pharm., Inc., 509 U.S. 579, 591, 113 S. Ct. 2786,
   2795—96 (1993). As the Third Circuit has explained:
                In assessing whether an expert’s proposed testimony
                “fits,” we are asking “ ‘whether [the] expert testimony
                proffered ...  is sufficiently tied to the facts of the case
                that it will aid the jury in resolving a factual dispute.’”
                Id. (quoting United States v. Downing, 753 F.2d 1224,
                1242 (3d Cir.1985)). Put another way, this is a
                question of relevance, and “Rule 702, which governs
                the admissibility of expert testimony, has a liberal
                policy of admissibility” if it has the “potential for
                assisting the trier of fact.” Kannankeril v. Terminix Int’l,
                Inc., 128 F.3d 802, 806 (3d Cir.1997) (citing Holbrook
                v. Lykes Bros. S.S. Co., 80 F.3d 777, 780 (3d
                Cir. 1996)); see also In re TMILitig., 193 F.3d 613, 670
                (3d Cir. 1999) (“expert evidence which does not relate
                to an issue in the case is not helpful”). The “standard
                is not that high,” but “is higher than bare relevance.”
                In re Paoli R.R. Yard PCB Litig., 35 F.3d 717, 745 (3d
                Cir. 1994).
   United States v. Schiff 602 F.3d 152, 173 (3d Cir. 2010).
         The defendants would have me conclude that Comcast adds a layer of
   complexity to the Daubed admissibility determination. 14 Neither the Third
   Circuit nor courts within this district have read Comcast that way. Rather, they
   have distinguished the manner in which the court admits opinion evidence
   under Daubed and the manner in which the court weighs such evidence when

          See Sukumar Br. 26-27 & n.20 (arguing that Dr. Sukumar’s price premium
   cannot establish “an absolute valuation to be awarded as damages” because it does
   not incorporate market supply and that this argument is “relevant to both the Rule 23
   inquiry and to whether Dr. Sukumar’s testimony meets Daubert’s “fit” requirement).

                                                24
Case 2:12-cv-00089-KM-JBC Document 236 Filed 03/17/17 Page 25 of 64 PageID: 11840




   assessing predominance under Comcast. See, e.g., In re Urethane Antitrust
   Litig., 166 F. Supp. 3d 501, 510 (D.N.J. 2016) (“Comcast is of dubious
   relevance because it involves predominance issues arising in the Rule 23
   context, whereas the instant matter concerns whether expert testimony is
   reliable and relevant under Rule 702.”).15
         In In re Blood Reagents Antitrust Litigation, the Third Circuit joined other
   Courts of Appeals in holding that “a plaintiff cannot rely on challenged expert
   testimony, when critical to class certification, to demonstrate conformity with
   Rule 23 unless the plaintiff also demonstrates, and the trial court finds, that
   the expert testimony satisfies the standard set out in Daubert.” 783 F.3d 183,
   187 (3d Cir. 2015). That language necessarily implies that the Daubert issue is
  prior, and that class certification is separate and distinct. See id. at 184
   (presenting as separate issues on appeal (1) whether Rule 23 requires that
  challenged expert testimony be scrutinized under Daubert and (2) whether
  class certification was proper in light of Comcast). Of course, if the expert
  opinion is inadmissible under Daubert, it will not be considered in the Comcast
  analysis. See id. at 187 (“Expert testimony that is insufficiently reliable to
  satisfy the Daubert standard cannot ‘prove’ that the Rule 23(a) prerequisites
  have been met ‘in fact,’ nor can it establish ‘through evidentiary proof’ that
  Rule 23(b) is satisfied.”).’
                6 The clear takeaway from In re Blood Reagents is that



         In fact, The Third Circuit has explained that Comcast turned on “a
  straightforward application of class-certification principles,” Neale v. Volvo Cars of N.
  Am., LLC, 794 F.3d 353, 374 (3d Cir. 2015) (quoting Comcast, 133 S.Ct. at 1433), and
  does not change the “well nigh universal” recognition “that individual damages
  calculations do not preclude class certification under Rule 23(b)(3).” Id. (quoting
  Corncast, 133 S.Ct. at 1437 (Ginsburg, J. & Breyer, J., dissenting)) (collecting Court of
  Appeals cases reading Comcast similarly). See also City of Sterling Heights Gen.
  Employees’ Ret. Sys. v. Prudential Fin., Inc., No. CIV.A. 12-5275, 2015 WL 5097883, at
  *7 (D.N.J. Aug. 31, 2015) (“[C]lass treatment would
                                                         still be appropriate here even if
  damages were required to be calculated on an individual basis.”). The Third Circuit
  also explicitly cautioned that Comcast’s “predominance analysis was specific to the
  antitrust claim at issue.” Neale, 794 F.3d at 374.
  16   Indeed, In re Blood Reagents remanded for the trial court to consider the
  Supreme Court’s then-recent decision in Comcast.

                                                25
Case 2:12-cv-00089-KM-JBC Document 236 Filed 03/17/17 Page 26 of 64 PageID: 11841




  Comcast presents questions for the class certification stage that are distinct
  from, and logically posterior to, the Daubert analysis.

             b) Defendants’ reliance on Comcast is premature, if not entirely
                misplaced
        On this motion, I am still at the Daubert gatekeeping step. I am deciding
  what opinion evidence is admissible for purposes of, inter alia, the class
  certification inquiry. It follows that questions of “fit” under Comcast are
  premature. Now, I must consider the reliability of an expert’s opinion or
  whether it sufficiently relates to the facts and issues of the case (Daubed “fit”).
  Only later do I consider whether the expert’s damages model comports with the
  plaintiffs’ theory of liability, or with the type of damages legally available (i.e.,
  Comcast “fit,” assuming it applies at all outside of the antitrust context).
        That two-step approach is illustrated by the first of the two cases upon
  which defendants chiefly rely, In re ConAgra Foods, Inc., 90 F. Supp. 3d 919
  (C.D. Cal. 2015), aff’d, 844 F.3d 1121 (9th Cir. 2017), and No. 15-55727, 2017
  WL 53421 (9th Cir. Jan. 3, 2017). There, the United States District Court for
  the Central District of California considered a price premium damages
  methodology proposed by the plaintiffs’ expert (Cohn B. Weir, as it happens).
  The court had little trouble finding Mr. Weir’s methodology admissible under
  Daubed: “Admissibility turns on whether Weir’s methodology is sufficiently
  reliable,” the court wrote, and it found that the price premium methodology
  passed that test. Id. at 946. But, the court cautioned, “whether [the price
  premium methodology] satisfies Comcast and shows that a class should be
  certified is another question altogether—one which the court will address infra


         See also City of Sterling Heights Gen. Employees’ Ret. Sys. v. Pnidential Fin.,
  Inc., No. CIV.A. 12-5275, 2015 WL 5097883, at *3 (D.N.J. Aug. 31, 2015) (“Courts are
  also frequently called upon to consider expert opinion offered to support or oppose
  class certification. Where an expert opinion is critical to class certification and a party
  challenges the reliability of that opinion, the reviewing court must engage in a two-
  step analysis before analyzing whether Rule 23’s requirements have been met: (1)
  whether the party’s challenges bear upon ‘those aspects of [the] expert testimony
  offered to satisfy Rule 23’ and (2) if so, whether the opinion is admissible as to those
  aspects under Federal Rule of Evidence 702 and Daubed.” (citations omitted)).

                                                  26
Case 2:12-cv-00089-KM-JBC Document 236 Filed 03/17/17 Page 27 of 64 PageID: 11842




  in conducting a Rule 23(b)(3) predominance analysis.” Id. Later in its opinion,
  the court performed that Comcast “fit” analysis. It held that Weir’s methodology
  was not sufficient, on its own, to define classwide damages under Rule 23(b)(3)
  because it did not “isolate[] and quantif[y damages associated with plaintiffs’
  specific theory of liability.” 90 F. Supp. 3d at 1024. What ConAgra did not hold
  is that an expert opinion should be held to flunk Daubert because it flunks
  Comcast—quite the opposite, in fact.
        The second of the two cases upon which defendants chiefly rely is In re
  POM Wonderful LLC, No. ML 10-02199 DDPRZX, 2014 WL 1225184, at*5
  (C.D. Cal. Mar. 25, 2014). There, the court applied Comcast to find that an
  expert’s price premium model could not satisfy Rule 23(b)(3), explaining:
  “Rather than draw any link between Porn’s actions and the price difference
  between the four-juice average benchmark price and average Porn prices, the
  Price Premium model simply calculates what the price difference was. This
  damages ‘model’ does not comport with Comcast’s requirement that class-wide
  damages be tied to a legal theory.     .   .   .“   Again, however, the essence of the
  holding is not a Daubert admissibility analysis, but a Comcast “fit” analysis.’
                                                                       7


  17     It must be said, however, that POM Wonderful did not so clearly distinguish
  between the standards and purposes of Daubert and Comcast. It analyzed and rejected
  class certification, but also stated, in a footnote: “For these and related reasons, [the
  expert’sl report and testimony are not admissible under Daubert.         ..2014 WL
                                                                                .“

  1225184, at *6 (emphasis added). The opinion rested on the complete disconnect
  between the proffered damages model and the facts of the case. See id. at *5 (noting
  that the damages expert presented no “survey or other evidence of what consumers’
  behavior might otherwise have been,” and “made no attempt, let alone an attempt
  based upon a sound methodology, to explain how Defendant’s alleged
  misrepresentations caused any amount of damages.”). In such a clear case, it was
  perhaps less critical to distinguish between the two, accounting for the throwaway
  Daubed analysis in a footnote.
          See also In re NJOY, Inc. Consumer Class Action Litig., 120 F. Supp. 3d 1050,
  1119—1122 (C.D. Cal. 2015) (on class certification motion, expert’s analysis did not
  satisfy Comcast and Rule 23(b)(3) because they “provide[d] only a model for testing
  what a consumer is willing to pay, without considering other factors in a functioning
  marketplace,” whereas only restitution damages (the difference between the product as
  labeled and the product as received) were recoverable under statute); In re NJOY, Inc.
  Consumer Class Action Litig., No. CV 14-428-JFW (JEMX), 2016 WL 787415, at *9
  (C.D. Cal. Feb. 2, 2016) (declining to strike, under Daubed, plaintiffs’ expert’s opinions
                                                        27
Case 2:12-cv-00089-KM-JBC Document 236 Filed 03/17/17 Page 28 of 64 PageID: 11843




        Here, whether the plaintiffs’ proposed damages model and its underlying
  methodologies (such as Dr. Sukumar’s price premium) fit the plaintiffs’ theory
  of liability will depend on as-yet-undetermined issues. Among these are likely
  to be a determination of the type of damages recoverable for breach of express
  warranty and the implied warranty of merchantability, unjust enrichment, and
  violation of consumer protection statutes under the laws of various states. For
  these and other reasons, a final Comcast determination of “fit” for purposes of
  class certification would be premature. What I have decided here is that Dr.
  Sukumar’s opinion is admissible under Daubed and therefore will go into the
  mix when I do decide the class certification issues.
        To summarize, Rule 702 permits a wide range of testimony as long as the
  expert is qualified and the testimony is reliable and relevant. Dr. Sukumar’s
  opinion testimony, and its supporting methodologies, are sufficiently reliable
  and relevant to be admitted into evidence for consideration at the next stage of
  this case—a motion for class certification under Rule 23. Thereafter, the
  defendants will have the opportunity to address their concerns with Dr.
  Sukumar’s opinions through traditional methods of presentation of their case,
  including cross-examination and rebuttal evidence. Accordingly, the
  defendants’ motion to exclude Dr. Sukumar’s opinions will be denied.

               C.     Defendants’ Motion to Strike the Opinions of Dr. Dennis

        The defendants argue that the plaintiffs’ other price premium expert, Dr.
  Dennis, also used methods that flunk the Daubed test. The defendants raise
  three broad arguments and several sub-arguments as to why I should strike
  Dr. Dennis’s opinions for lack of “fit.” I first describe Dr. Dennis’s method of
  analysis, and then address defendants’ arguments.


  on the basis of alleged flaws in conjoint analysis and regression analysis, but
  concluding, under Comcast that Rule 23(b)(3) could not be satisfied because “Plaintiffs
  have not proffered a model capable of calculating damages on a classwide basis.   .
                                                                                        .

  Apple, Inc. v. SamsungElecs. Co., No. 11—CV-01846-LHK, 2014 WL 976898, at *13
  (N.D. Cal. Mar. 6, 2014) (“Here, of course, the Court is not addressing a Daubert
  challenge.”).

                                               28
Case 2:12-cv-00089-KM-JBC Document 236 Filed 03/17/17 Page 29 of 64 PageID: 11844




            1) Dr. Dennis’s Analysis
            Dr. Dennis surveyed 1,122 people who had purchased top-loading
  washing machines in the United States since 2009. (Dennis Opp. 1; see
  generally Dennis Report.)’
                   8 The method employed by Dr. Dennis is called
  contingent valuation, an “approach based on the direct elicitation of            [1   values
  from individuals through the use of carefully designed and administered
  sample surveys.” (Id. (quoting Kenneth Arrow, et al., Report of the NOAA Panel
  on Contingent Valuation (Jan. 11, 1993) (“NOAA Report”), Deckant Dccl. Ex. I,
  ECF No. 215-9)). Dr. Dennis’s surveys purportedly measured “respondents’
  valuations of products that are identical in all respects except for the presence
  of absence of the Energy Star® logo,” and “controlled for all other variables to
  isolate the price premium solely attributable to the Energy Star® logo.” (Dennis
  Opp. 1) Dr. Dennis’s initial report discusses his contingent valuation and its
  results. His initial report also summarizes the results of Whirlpool’s own
  consumer research on the Energy Star logo. (See Dennis Report              ¶J   44—49) Dr.
  Dennis also submitted a rebuttal report defending his contingent valuation



   18    The following abbreviations will be used to cite Dr. Dennis’s submissions and
  the briefing on the defendants’ motion to strike his opinion testimony:
        •   “Dennis Report” = Declaration and Expert Report of J. Michael Dennis, Ph.D,
            Deckant Decl. Ex. F, ECF No. 2 15-6
        •   “Dennis Rebuttal” = Rebuttal Expert Report of J. Michael Dennis, Ph.D.,
            Deckant Dccl. P, ECF No. 2 15-16
        •   “Dennis Br.” = Brief in Support of Motion to Strike the Opinions of Dr. J.
            Michael Dennis, Ph.D. by Defendants Whirlpool Corporation, Lowe’s Home
            Centers, LLC, Sears Holdings Corporation, and Fry’s Electronics, Inc., ECF No.
            199
        •   “Dennis Opp.” = Plaintiffs’ Opposition to Motion to Strike the Opinions of Dr. J.
            Michael Dennis, Ph.D. by Defendants Whirlpool Corporation, Lowe’s Home
            Centers, LLC, Sears Holdings Corporation, and Fry’s Electronics, Inc., ECF No.
            213
        •   “Dennis Reply” = Reply in Support of Motion to Strike the Opinions of Dr. J.
            Michael Dennis, Ph.D. by Defendants Whirlpool Corporation, Lowe’s Home
            Centers, LLC, Sears Holdings Corporation, and Fry’s Electronics, Inc., ECF No.
            229

                                                   29
Case 2:12-cv-00089-KM-JBC Document 236 Filed 03/17/17 Page 30 of 64 PageID: 11845




  methodology against the criticisms of defense expert Dr. Carol A. Scott. (See
  Dennis Rebuttal.)
        The defendants do not dispute that Dr. Dennis is appropriately qualified
  and credentialed. He is currently a Senior Vice President of the National
  Opinion Research Center at the University of Chicago. He has “been personally
  involved in the design and conduct of over a hundred statistical surveys using
  the internet mode of data collection,” including for several United States federal
  agencies and in at least six prior litigations. (Dennis Opp. 3—4 (citing Dennis
  Report   ¶J 4, 6—7))

        2) Objection to selection of contingent valuation method
        First, the defendants argue that Dr. Dennis’s opinions should be
  excluded because he should not have opted for this contingent valuation
  methodology at all. Contingent valuation, say the defendants, is a second—best
  method that should be used only when objective indicia of market value, such
  as prices actually paid for “market goods,” are not available. Dr. Dennis
  himself, they say, generally agrees with this principle. (Dennis Reply 3)
        Here, the defendants say, objective market data are available: The “C500”
  model Maytag washing machine (which retailed at a higher price, on average,
  than the Washers) was a comparable washing machine that did not bear the
  Energy Star logo. (Dennis Br. 10—12; Dennis Reply 6). Therefore, in lieu of
  theorizing, Dr. Dennis should have simply analyzed the comparable C500 sales
  data, which show what consumers actually paid during the relevant time
  period for a similar washing machine without the Energy Star label.
        The plaintiffs respond that the C500 machine is not comparable. In their
  brief, they say that there are many differences between the Washers and the
   C500, and that those differences would confound the price premium analysis.
   (Dennis Opp. 10) All very well, say defendants, but Dr. Dennis did not himself
   perform such an analysis, did not determine whether the non-Energy Star
   washer was a comparable “market good,” and therefore did not choose the



                                             30
Case 2:12-cv-00089-KM-JBC Document 236 Filed 03/17/17 Page 31 of 64 PageID: 11846




  contingent valuation methodology “based on his reasoned determination that
  the [C500] was not sufficiently similar.” (Reply 5)
        I recognize the origin and purposes of the contingent valuation method. It
  was developed as a means of assigning a dollar value to what are obviously
  non-market goods, i.e., things that are not bought and sold, such as the
  preservation of a wilderness area. In lieu of consumers’ “revealed” preferences
  (i.e., what they actually pay for a market good), contingent valuation relies on
  consumers’ “stated” preferences (i.e., what they say a good is worth to them).
  Saying is not paying, and that suggests some of the possible shortcomings of
  the stated-preference approach. It costs a survey respondent nothing to say $0
  or $1 billion, to ignore tradeoffs or income constraints, to register a protest
  (“bankruptcy is too good for any company that put the wrong label on my
  purchase”), and so on. The potential pitfalls, and techniques for minimizing or
  avoiding them, are discussed more formally in the seminal NOAA Report,
  Sections II & III. (A copy is attached to defendants’ papers. (ECF no. 215-9))
        My task here, however, is not to identify the best methodology and
  exclude all others, but rather to determine whether contingent valuation is a
  reasonable, reliable methodology. See Lentz v. Mason, 32 F. Supp. 2d 733, 746
  (D.N.J. 1999). The facts and case law before me establish that it is.
        Dr. Dennis’s report bespeaks a thorough familiarity with the contingent
  valuation method and its limitations. Asked if contingent valuation would be an
  appropriate approach even if he knew that the C500 model was comparable,
  Dr. Dennis opined that the “contingent valuation approach would still be a
  reliable tool   .   .   .   .because   .   .   .   .   [it]   .   .   .   has a powerful ability to isolate the value
  that consumers and purchasers place on particular attributes.                                         .   .   .“   (Dennis
   Dep. 67:1268:3)19 Contingent valuation is a tool long used by the federal


   19    Defendants dispute that the distinctions between the C500 and the Washers
  would bear on the price comparison in any relevant way. (Id.) For the reasons
  expressed in text, this is not critical to the Daubert analysis, but I do find the
  defendants’ attempt to minimize the distinctions between the C500 and the Washers
  to be unclear and undeveloped.

                                                                                31
Case 2:12-cv-00089-KM-JBC Document 236 Filed 03/17/17 Page 32 of 64 PageID: 11847




  government. (See Dennis     Opp.   2—3) Courts have accepted it as a sufficiently
  reliable basis to estimate the economic impact of alleged product defects or
  labeling misrepresentations in consumer class actions. See, e.g., Miller v. Fuhu
  Inc., No. 2:14-CV-06119-CAS-AS, 2015 WL7776794, at *21 (C.D. Cal. Dec. 1,
  2015) (stating “numerous courts, including this one, have accepted both
  [Choice-Based Conjoint Analysis] and [Contingent Valuation Method] as
  reliable methodologies for calculating price premiums on a classwide basis in
  consumer class actions,” and collecting cases); In re Toyota Motor Corp. Hybrid
  Brake Mktg., Sales Practices & Prod. Liab. Litig., No. MDL 10-02 172-CJC, 2012
  WL 4904412, at *4 (C.D. Cal. Sept. 20, 2012) (finding contingent valuation
  admissible to estimate damages arising from an anti-lock braking system
  defect, and explaining that the “proposed methods of analysis, i.e. hedonic
  regression, contingent valuation, and discrete choice, are generally accepted,
  have been tested, and are part of peer-reviewed studies.”) 20




          For example, citing no case law or expert testimony, the defendants assert that
  whether a washing machine features an “end of a cycle signal” is a “distinction[]
  without a difference.” (Dennis Reply 5) They also argue that certain distinguishing
  features the plaintiffs identify “would have resulted in the C500 costing less than the
  labeled version of the Washer, not more, meaning that the market prices charged for
  the two machines should have shown an even larger price premium than Dr. Dennis’s
  methodology predicted.” (Dennis Reply 5) (emphasis in original) But as an example of
  this argument, they state that “the larger capacity of the C500 is a desirable feature
  that should have resulted in a higher price.” (Id.) (emphasis added).
  20      The defendants argue that in the few cases in which courts have accepted
  contingent valuation, the product in question contained an undisclosed defect. On
  that basis, the proponent of contingent valuation argued that the subject of the survey
  was actually a “nonmarket good” in the sense that no market existed in which
  consumers had purchased the product without the defect. (Dennis Br. 12-13). The
  plaintiffs’ argument here is more debatable; they must acknowledge that there is a
  market for non-Energy Star washers, but they contend that none of them are truly
  comparable to the Washers at issue. (Dennis Opp. 10—11) Defendants’
  counterargument is based on the opinion of their own expert, Dr. Carol Scott. (See,
  e.g., Expert Report of Carol A. Scott, Ph.D., April 26, 2016, Deckant Deci. Ex. L ¶{ 53,
  71—74) The dispute raises a factual question going to weight, not admissibility. See
  Hartle, 2014 WL 1317702, at *7 (W.D. Pa. Mar. 31, 2014) (“A factual disagreement
  between experts is a matter for the jury to resolve.” (citing Lansford—Coaldale Joint
  WaterAuth. v. Tonolli Corp., 4 F.3d 1209, 1216 (3d Cir. 1993)).

                                                32
Case 2:12-cv-00089-KM-JBC Document 236 Filed 03/17/17 Page 33 of 64 PageID: 11848




           Granted, some courts have rejected contingent valuation studies where
  they cannot be used to reliably measure damages, or where the study proposed
  is too vague. In Miller v. Fuhu Inc., supra, for example, a contingent valuation
  study (Dr. Dennis’s, as it happened) proposed for the purpose of quantifying
  the economic impact of handheld tablets’ defective charging systems, was
  excluded under both Daubert and Rule 23. There, the court found, Dr. Dennis
  had done nothing but sketch out a plan for conducting a contingent valuation
  survey to measure the hypothetical sale price of a product if it had not been
  defective. 2015 WL 7776794, at *21. But the Miller court did not rule out a
  properly conducted contingent valuation survey. Rather, it stated that, on a
  renewed motion to certify, the “proposed methodology could, in theory, provide
  a legally justifiable measurement for classwide damages,” if the plaintiffs
  “provided more concrete details regarding [Dr. Dennis’s] proposed survey.” Id.
  at 22.
           Here, in contrast, Dr. Dennis is not merely proposing to do a vaguely
  described survey. His opinions are based on a fully completed contingent
  valuation survey and data analysis, both of which are described in detail in his
  expert report. The concerns raised in Miller are not present in our case.
           As with Dr. Sukumar, the defendants have stated a disagreement with
  the results of Dr. Dennis’s analysis, and tried to work back from there to a
  Daubert-based exclusion of his opinion. As I see it, their argument relies on
  disputed facts and differences of opinion bearing primarily on the persuasive
  weight a jury might assign to Dr. Dennis’s analysis. See, e.g., Leonard v.
  Stemtech Int’l mc, 834 F.3d 376, 391 (3d Cir. 2016) appeal docketed, No. 16-
  928 (U.S. Jan. 26, 2017) (“disagreement with the calculation methodology and
  the underlying assumptions.     .   .   goes to the weight given to [an expert’s]
  testimony, rather than admissibility.”); Breidor v. Sears, Roebuck & Co., 722
  F.2d 1134, 1138—39 (3d Cir. 1983) (“Where there is a logical basis for an
  expert’s opinion testimony, the credibility and weight of that testimony is to be
  determined by the jury, not the trial judge.”); Lentz, 32 F. Supp. 2d at 746 (for


                                                   33
Case 2:12-cv-00089-KM-JBC Document 236 Filed 03/17/17 Page 34 of 64 PageID: 11849




  “testimony to be reliable, and, thus, admissible under Daubert, [the expert]
  need not have used the best method available, only a reasonable one.
  Moreover, the Defendants are free to challenge [the expert’sl methodology on
  cross-examination and in their closing arguments.”).
        Contingent valuation is a reasonable methodology. I decline to exclude
  Dr. Dennis’s opinions on the basis of his having used it.

        3) Criticisms of Survey Methodology, Population, and Results
        The defendants also assign a number of errors to Dr. Dennis’s
  application of the contingent valuation method, and to his analysis of data.
  They aver that Dr. Dennis’s contingent valuation measures only consumers’
  stated “willingness to pay” a premium for the Energy Star logo—a concept not
  equivalent to what the putative class members actually paid. Relatedly, they
  argue that Dr. Dennis failed to subtract offsetting actual benefits or to account
  for supply-side factors that affected what putative class members actually paid
  for their Washers. The defendants add that Dr. Dennis surveyed consumers in
  2015, but the putative class members purchased their Washers under the
  different economic and competitive conditions that prevailed in 2009 and 2010.
        The plaintiffs deny that what Dr. Dennis has offered is merely a
  “willingness-to-pay” calculation. Willingness to pay, they say, is a theoretical
  concept untethered to marketplace data. A survey based on this concept might
  simply consist of asking respondents, “How much are you willing to pay for X?”
  Such an informal, qualitative, and unanchored survey might raise reliability
  concerns. But here, the plaintiffs emphasize, Dr. Dennis’s survey presented
  respondents with the actual prevailing $400 market price for the Washers, a
  real-world price that necessarily incorporated supply and demand factors.
  (Dennis   op.   7, 12—13) The plaintiffs add that Dr. Dennis “worked closely with
  an expert economist” to ensure that his survey design took into account both
  supply-side and demand-side factors. (Dennis Opp. 1)
        The defendants reply, in effect, that Dennis is attempting the impossible:
  a one-sided comparison. A valid contingent valuation, they say, would have to

                                               34
Case 2:12-cv-00089-KM-JBC Document 236 Filed 03/17/17 Page 35 of 64 PageID: 11850




  “account for the impact of supply-side factors               .   .   .   .   on the price of the Washer
  relative to the price of the unlabeled version of the Washer, and [Dr. Dennis]
  [would] need[] an accurate measure of the price of both to identify any alleged
  price premium.” (Dennis Reply 8) (emphasis in original). In reality, they say,
  “intense market competition for similarly-priced Energy Star top-loaders drove
  down prices for that category of machines and eliminated any potential price
  premium for the Washers as compared to the unlabeled C500 version.” (Id.)
         As for the timing issue, the plaintiffs point out that Dr. Dennis testified
  that his 2015 survey is a reliable and valid measurement for washing machine
  purchases for the entire 2005—20 15 time frame. The Energy Star label, he
  stated, has had “such a remarkable hold on the consumer mind—and it’s been
  that way for a significant period of time   .   .   .   .“   (Id. (quoting Dennis Dep.,
  Deckant Decl. Ex. 0, 123:13—25)) This is thin stuff, say the defendants; there is
  “too great an analytical gap” between Dr. Dennis’s 2015 survey results and the
  conclusions he draws about 2009—20 10 purchases. (Id. (quoting General Elec.
  Co. v. Joiner, 522 U.S. 136, 146, 118 S. Ct. 512, 519 (1997))).
         For the reasons discussed Section III.A.3., supra, with respect to the
  defendants’ similar criticisms of Dr. Sukumar’s analysis, I find that Dr.
  Dennis’s methodology is reasonable and reliable overall. Defendants’ challenges
  to the “willingness to pay” and survey population components go to weight, not
  admissibility. The defendants’ criticisms are far from frivolous. Those
  criticisms, however, do not so undermine the reliability of Dr. Dennis’s
  methods or their application to the case as to warrant exclusion.
         4) Whether Dr. Dennis’s Price Premium Analysis Fits the Facts of the Case
            and Plaintiffs’ Theory of Liability
         Finally, the defendants argue that Dr. Dennis’s opinions are misaligned
  with the facts of the case and the plaintiffs’ theory of the case. (Dennis Br. 18)
         First, the defendants attribute to Dr. Dennis the incorrect “binary”
  assumption that the Washers either (a) were Energy Star qualified, and
  therefore delivered a host of efficiency and rebate benefits, or else (b) were not
   Energy Star qualified, and therefore delivered no benefits. In reality, the

                                                      35
Case 2:12-cv-00089-KM-JBC Document 236 Filed 03/17/17 Page 36 of 64 PageID: 11851




  defendants claim, the purchasers of the Washers received tax rebates and
  incentives, and also enjoyed water and energy efficiencies which, even if they
  did not meet Energy Star standards, nevertheless exceeded those of other, non-
  Energy Star washers. (Id. 19—21) The defendants argue that Dr. Dennis failed
  to account for these benefits when he treated the Energy Star logo in binary,
  black-or-white fashion. His opinions therefore would not align with the
  plaintiffs’ “real theory of liability,” which the defendants frame as follows:
  “consumers who purchased a Washer in 2009 and 2010 paid a price premium
  in exchange for improved water and energy efficiency.” (Dennis Reply 10—11
  (emphasis in original))
        The plaintiffs confirm that Dr. Dennis considers the Energy Star
  “promise” to be a binary one. But this, they say, is not an error. Rather, they
  explain, the promise is binary because “Plaintiffs’ theory of liability is not based
  on the price premium for the relative efficiency of the washers at issue, but
  rather the price premium solely attributable to the presence or absence of the
  Energy Star® logo.” (Id. at 14) Plaintiffs’ damages expert, Mr. Weir, accounted
  for energy expense losses in his “energy expense damages model.” (see
  Declaration of Cohn B. Weir, Dec. 28, 2015, Deckarit Deci. Ex. C, ¶J 9—23))
  Weir’s energy expense model, however, is distinct from his “price premium
  model,” which comes at the same issue from the perspective of consumer
  preferences, and is based on Dr. Dennis’s results. (Id. at 15) Dr. Dennis did not
  need to consider rebates, the plaintiffs say, because “price premium damages
     occurred at the time of purchase and rebates, if any, were only paid out
  later.” (Id.) Even if he did need to account for rebates, they say, Dr. Dennis has
  stated that his survey respondents surely “were thinking about [publicly
  known] rebate programs” (Id. (quoting Dennis Dep., Deckant Deci. Ex. 0,
  165:18—21)) when they responded. Therefore, the impact of rebates was
  “prebaked into the survey results.” (Id.) Moreover, the plaintiffs explain, the
  defendants’ own expert did not adjust for rebates. (Id.)




                                             36
Case 2:12-cv-00089-KM-JBC Document 236 Filed 03/17/17 Page 37 of 64 PageID: 11852




        This first debate revolves primarily around the Comcast question of
  whether Dr. Dennis’s model fits the plaintiffs’ theory of the case. For the
  reasons stated above, consideration of that Comcast issue is premature at this,
  the Daubert stage. The defendants also state that “the fact that Dr. Dennis
  failed to account for the substantial evidence showing that most, if not all, of
  the benefits of Energy Star were delivered   [1   renders his opinions inadmissible
  under Rule 702.” (Dennis Br. 20) But this alleged deficiency depends on
  questions of fact that go to weight of the evidence (and also directly to the
  merits, it would seem), not its admissibility. These flaws, if that is what they
  are, does not rise to the level of requiring me to exclude Dr. Dennis’s opinion
  from evidence.
        I note, by the way, that the plaintiffs’ endorsement of the “binary”
  approach here is seemingly at odds with their position in relation to alleged
  “double counting” in Mr. Weir’s opinion, discussed in Section II.D.4, infra.
  There, they wriggle free of defendants’ criticism by acknowledging that the
  value of the Energy Star logo and the value of the promised energy savings may
  well overlap. Here, however, they place consumer preferences in a black box
  and accept that consumers want what they want. That, too, however, is an
  issue that may be refined in the course of class certification or the calculation
  of damages, and may ultimately be placed before the jury for decision.
        Second, the defendants claim that Dr. Dennis’s contingent valuation
  model cannot reliably be applied in this case because “real world” market data
  shows that non-Energy Star washing machines sold for just as much as Energy
  Star washing machines. On that view, Dr. Dennis’s price premium would fail to
  correspond to market reality.
        The plaintiffs respond that defendants’ preferred “actual market data”
  approach, whatever its validity, actually proves plaintiffs’ case. Data from the
  time that the Washers at issue and the non-Energy Star C500 model were both
  were on the market, they say, shows that the C500 washers were 48% cheaper
  than the C6 Washers. (Id. 16 (citing Rebuttal Declaration of Cohn B. Weir,


                                               37
Case 2:12-cv-00089-KM-JBC Document 236 Filed 03/17/17 Page 38 of 64 PageID: 11853




  Deckant Deci. Ex. E,   ¶   8)) That 48% price differential, they say, is roughly
  consistent with Dr. Dennis’ 48.5% price premium and with Dr. Sukumar’s
  44.3% price premium (see Sukumar Report ¶ 14—17), as well as the view
  expressed by “Whirlpool’s own executives.” (Id.)
         Third, the defendants say Dr. Dennis’s contingent valuation study does
  not fit the facts of the case because his survey focused on retail prices and
  retail consumers, ignoring the fact that the C7ES model of the Washers was
  sold primarily to rental companies. (Dennis Br. 22) The plaintiffs dismiss this
  third argument as lacking evidentiary or case law support. (Dennis Opp. 16—
  17).
        The defendants’ second and third points do not raise significant Daubert
  problems. They merely take issue with Dr. Dennis’s interpretation of facts, with
  specific methodological choices he made in his survey design, and with his
  conclusions. As noted above, the focus of Rule 702 “must be solely on
  principles and methodology, not on the conclusions that they generate,”
  Daubert, 509 U.S. at 595.

         In sum, the plaintiffs have demonstrated that Dr. Dennis employed
  reasonable methodologies and that his conclusions rest on valid grounds. As
  before, defendants have identified significant vulnerabilities, which they no
   doubt will exploit at trial. But viewed as a question of Daubed admissibility,
   defendants’ motion to strike Dr. Dennis’s opinions must be denied.

   D.    The Defendants’ Motion to Exclude the Opinions of Mr. Weir

         Finally, the defendants move, pursuant to Daubed and Federal Rules of
   Evidence 702 and 703, to strike the opinions of the plaintiffs’ class-wide
   damages expert, Cohn B. Weir. As discussed below, the defendants contend
   that Mr. Weir’s model is generally unreliable; is based on unreliable data, false
   assumptions, and miscalculations; and is inconsistent with the facts of the
   case and with the plaintiffs’ theory of liability.



                                                 38
Case 2:12-cv-00089-KM-JBC Document 236 Filed 03/17/17 Page 39 of 64 PageID: 11854




         1) Mr. Weir’s Damages Model
         Mr. Weir holds an MBA from Northeastern University, a Bachelor of Arts
   in Business Economics from The College of Wooster, has testified in numerous
   cases and government hearings on damages calculations, and has co-authored
   several articles in the field of economics. Although the defendants describe Mr.
  Weir as “a professional plaintiffs’ expert who invariably opines that damages
  are capable of measurement on a classwide basis,” they do not formally
  challenge his qualifications as an expert opinion witness. I find that Mr. Weir is
  sufficiently qualified; it appears that his education and experience have given
  him a specialized knowledge in damages calculations that may help a jury
  understand the evidence or make a determination. See Fed. R. Evid. 702.
       Mr. Weir proposes a hybrid damages model addressing two categories of
  damages: (1) “price premium” damages representing the portion of the retail
  price attributable solely to the Energy Star label; and (2) “energy expense”
  damages stemming from utility bills the putative class members paid, which
  were allegedly higher than they would have been if the Washers truly had met
  Energy Star standards. (See generally Weir Report)
                                             ’
                                             2
         For the price premium component of his damages model, Mr. Weir relies
  (a) on the price premiums calculated by Drs. Sukumar and Dennis, and (b) on

  21     The following abbreviations will be used to cite Mr. Weir’s submissions and the
  briefing on the defendants’ motion to strike his opinion testimony:
     •   “Weir Report” = Declaration of Cohn B. Weir, Dec. 28, 2015, Deckant Decl.
         Ex. C, ECF No. 2 15-3
     •   “Weir Rebuttal” = Rebuttal Declaration of Colin B. Weir, June 10, 2016,
         Deckant Deci. E, ECF No. 2 15-5
     •   “Weir Br.” = Brief in Support of Motion to Strike the Opinions of Mr. Cohn Weir,
         Ph.D by Defendants Whirlpool Corporation, Lowe’s Home Centers, LLC, Sears
         Holdings Corporation, and Fry’s Electronics, Inc., ECF No. 200
     •   “Weir Opp.” = Plaintiffs’ Opposition to Motion to Strike the Opinions of Mr. Cohn
         Weir by Defendants Whirlpool Corporation, Lowe’s Home Centers, LLC, Sears
         Holdings Corporation, and Fry’s Electronics, Inc., ECF No. 212
     •   “Weir Reply” = Reply Brief in Support of Motion to Strike the Opinions of Mr.
         Cohn Weir by Defendants Whirlpool Corporation, Lowe’s Home Centers, LLC,
         Sears Holdings Corporation, and Fry’s Electronics, Inc., ECF No. 230

                                                39
Case 2:12-cv-00089-KM-JBC Document 236 Filed 03/17/17 Page 40 of 64 PageID: 11855




  a 2006 Whirlpool document comparing sales data between Energy Star certified
  and non-certified washing machines. (Id.       ¶J   32—33)
         For the energy expense component of his damages model, Mr. Weir
  compares the energy and water consumption allegedly promised by Energy
  Star-qualified washing machines to the results of laboratory audit tests that
  the DOE performed on the Washers in 2009 and 2010. (Weir Br. 4—6; see Weir
  Report   ¶J   9—15)

         2) Mr. Weir’s Price Premium Analysis
                a) Mr. Weir’s conception of price premium damages
           The defendants first argue that Mr. Weir’s calculations of price premium
  damages “conflict[] with Plaintiffs’ allegations and do not fit the evidence in this
  case.” (Weir Br. 7) In his deposition, Mr. Weir testified that consumers paid a
  55.7% price premium for the Energy Star logo on the Washers, but declined to
  say “what consumers would have paid had the logo not been there.” (Weir Br. 8
   (quoting Weir Dep. 193:13—194:6, 195:9—18)). That, from defendants’ point of
  view, constitutes an admission that Weir’s damages model is not “tied to the
  presence or the absence of the Energy Star logo on the Washers,” and therefore
  “is not designed to measure damages that flow from Plaintiffs’ theory of liability
  in the case.” (Weir Br. 9).
        The plaintiffs answer, and I agree, that the defendants’ argument is
  based on a selective quotation of Mr. Weir’s deposition testimony and on
  22
  distinguishab le or otherwise inapt Rule 23-focused case law. (See Weir Br. 9;


  22     While precedent is of course relevant, I do not agree that rejection of an
  particular expert’s opinion in a prior case forever taints that expert’s future opinions.
  Each opinion must be measured against the requirements of Rules 702 and 703.
          The defendants cite In re ConAgra Foods Inc., 302 F.R.D. 537, 552 (C.D. Cal.
  2014), where a court struck Mr. Weir’s declaration for failure to satisfy Rule 702.
  There, Mr. Weir testified that classwide “price premium” damages could be calculated
  for consumers of mislabeled cooking oil provided necessary data is obtained. He
  generally described the method of analysis he proposed using in his expert reports and
  testified that the necessary data could be easily obtained from business records or
  market research data, but did not identify any variables he intended to build into his
  models or identify data in his possession that could be applied to models. Therefore,
                                                 40
Case 2:12-cv-00089-KM-JBC Document 236 Filed 03/17/17 Page 41 of 64 PageID: 11856




  Weir   Opp.   9—14). Having reviewed the deposition, I am not convinced overall
  that there is no “connection between [Dr. Weir’s]      .   .   .   test result to be presented
  and particular disputed factual issues in the case.” In re Paoli R.R. Yard PCB
  Litig., 35 F.3d at 743. To the contrary, Mr. Weir’s price premium damages
  analysis aims to “calculate the portion of the retail price attributable to the
  Energy Star label, and/or to estimate the portion of the revenues and profits
  gleaned by Whirlpool,” which fits several of the plaintiffs’ theories of harm.
  (Weir Report    ¶J   6, 24; see also, e.g., Compi. ¶160 (alleging plaintiffs were
  harmed by defendants’ breach of the implied warranty of merchantability by
  paying a price premium for the Energy Star logo); id.              ¶   167 (alleging defendants
  were unjustly enriched and plaintiffs were injured by paying a price premium
  for the logo)) That is a close enough “fit” to satisIr Daubert.
          To the extent the defendants seek to challenge the damages component
  of Mr. Weir’s model as inconsistent with the types of damages legally available
  by statute, they raise Comcast-style Rule 23 arguments, to be decided at the
  class certification stage.




  the court concluded that Mr. Weir had provided “no damages model at all,” and thus
  his declaration was “so incomplete as to be inadmissible as irrelevant.” 302 F.R.D. at
  552 (internal quotation marks omitted). This is not the case here, where Mr. Weir
  possesses what he considers the necessary data and uses that data to calculate actual
  proposed damages figures.
          The plaintiffs point to a case in which Mr. Weir’s opinions fared better—Dei
  Rossi v. Whirlpool, 2015 WL 1932484 (E.D. Cal. Apr. 28, 2015) (see Weir Opp. 1—3)—
  but it, too, is distinguishable. Dei Rossi is another consumer class action based on
  allegations of mislabeling. There, the court granted class certification and denied
  Whirlpool’s motion to strike a declaration by Mr. Weir that calculated proposed price
  premium and energy expense damages. Id. at *1 n. 1; (Weir Opp. 1) The court
  concluded that Mr. Weir’s proposed price premium and energy savings methods were
   sufficient at the class certification stage of the case because even after Comcast, Ninth
   Circuit precedent directs that “plaintiffs need only propose a valid method for
   calculating class wide damages, not an actual calculation of damages.” Dei Rossi,
   2015 WL 1932484 at *1 n.1 (citing Leyva v. Medline Indus., Inc., 716 F.3d 510, 514
   (9th Cir. 2013)). But the Dei Rossi court did not evaluate Mr. Weir’s methodology for
   admissibility under Rule 702 and Daubert.

                                                  41
Case 2:12-cv-00089-KM-JBC Document 236 Filed 03/17/17 Page 42 of 64 PageID: 11857




            b) Hamish v. Widener
        As to Mr. Weir’s price premium opinions, both parties cite the Third
  Circuit’s decision in Hamish v. Widener University School of Law, 833 F.3d 298
  (3d Cir. 2016). There, law school graduates claimed they had been induced to
  pay inflated tuition based on the school’s overstatement of post-graduation
  employment statistics. Id. at 303. Those plaintiffs sued solely under the New
  Jersey Consumer Fraud Act (“NJCFA”) and Delaware Fraud Claims Act
  (“DCFA”). Neither state’s Supreme Court, however, had recognized price-
  inflation as a theory of damages under those two statutes. The Third Circuit
  therefore held that the plaintiffs had failed to propose a theory of damages
  supportable by class-wide evidence and affirmed the district court’s decision to
  deny class certification under Fed. R. Civ. P. 23(b)(3). Id. at 309—3 13.
        The defendants argue that, under Harnish, I should strike Mr. Weir’s
  price premium damages model because the plaintiffs’ fifth count in its
  amended complaint in this case is a NJCFA claim. (Weir Reply 8-9; See ECF
  No. 86) But Harnish concerns Rule 23(b)(3)’s predominance requirement, not
  Daubert admissibility. It is possible that Hamish will be a hurdle for Mr. Weir’s
  price-premium damages model with respect to the plaintiffs’ NJCFA claims at
  the class certification stage. I will not decide class certification (or even a basis
  to dismiss a count on the merits), however, by the back-door method of
  deciding a Daubert motion.
        To analyze defendants’ contentions here, I must be in a position to
  “formulate some prediction as to how specific issues will play out” on the
  merits. Hamish, 833 F.3d at 304 (quoting In re Hydrogen Peroxide Antitrust
  Litig., 552 F.3d 305, 311 (3d Cir. 2008)). And those “specific issues” will, of
  course, include the plaintiffs’ several non-NJCFA claims. It is premature to
  determine whether a price premium damages model must be excluded
  pursuant to Fed. R. Civ. P. 23 or Comcast. Suffice it to say that Hamish does
  not preclude Mr. Weir’s price premium damages model at the Daubert stage.




                                               42
Case 2:12-cv-00089-KM-JBC Document 236 Filed 03/17/17 Page 43 of 64 PageID: 11858




            c) Mr. Weir’s reliance on the Whirlpool document
        The Defendants next attack Mr. Weir’s reliance on a Whirlpool document,
  author unknown (the “Whirlpool document”) to calculate a price premium. (A
  copy of the Whirlpool document is at Bursor Decl. Ex. 1, ECF No. 164-1.) This
  Whirlpool document includes a chart comparing pricing data for Energy Star
  versus non-Energy Star washing machines. The chart does not indicate what
  models or brands of washing machines are represented, and it appears to
  depict data from 2006. (Id.) From the data in the chart, Mr. Weir calculates a
  55.7% price premium, which he attributes to Whirlpool itself as a kind of
  admission. (Weir Report ¶j 26, 32—33 (“Whirlpool determined that there was a
  price premium of 55.7% attributable to the Energy Star.”); Id. 3; see also Weir
  Br. 10)
        Defendants contend that Mr. Weir’s deposition testimony establishes that
  he knows nothing about the date, author, content, basis, or reliability of the
  Whirlpool document. (Weir Br. 10 (citing Weir deposition testimony, ECF No.
  198-3) Defendants point also to the document’s date of 2006, which precedes
  by three years the relevant 2009-2010 time frame (by which point, the
  defendants claim, competition drove down the price differential). (Id. 11—12)
        As further support for their position, the defendants have submitted a
  declaration by Whirlpool’s Global Sustainability Director, Ronald L. Voglewede.
  (See Decl. of Ronald L. Voglewede (“Voglewede Decl.”), ECF No. 178-9) Mr.
  Voglewede states that the chart in the Whirlpool document “does not show the
  existence of a 55.7% price premium attributable to the Energy Star logo for the
  Maytag Centennial washers at issue here or any other washers. Rather, the
  charts on page WDZ9999209 appear to show a comparison of the prices of
  Whirlpool washers that happen to be Energy Star versus prices for washers that
  happen to be non-Energy Star.” (Id.   ¶   5) Whirlpool’s Energy Star-certified
  washers, he says, “were far more likely to have several premium features that
  contributed to higher prices” in the 2006-2007 time frame. (Id.     ¶   6) By
  contrast, “[t]he 2009-20 10 timeframe saw particularly intense competition and


                                               43
Case 2:12-cv-00089-KM-JBC Document 236 Filed 03/17/17 Page 44 of 64 PageID: 11859




  downward pressure on the prices of Energy Star top-loading washers.” (Id.                ¶   7)

        The plaintiffs respond first that criticisms of an expert’s assumptions or
  the incompleteness of the expert’s analysis, absent a severe methodological
  flaw, go to the weight of testimony only. (Weir Opp. 15). Even setting that aside,
  they say, “Mr. Weir did not analyze [the Whirlpool document] in a vacuum,” but
  also considered “a plethora of additional internal documents” and
  corroborating admissions from Whirlpool executives. (Id. 16) For example,
  Weir’s rebuttal report cites a presentation given by Whirlpool to its investors
  indicating “an expected up front price premium of $200 for clothes washers,”
  as well as more general statements by Whirlpool indicating that Energy Star
  qualified products sell at higher prices. (Weir Rebuttal   ¶       67) Further, the
  plaintiffs continue, Mr. Weir concluded from internal documents that the price
  differential reported in the 2006 Whirlpool document was applicable to the
  2009—2010 time frame. (Id. 16—17) And that differential, they say, survives a
  reality check: the 55.7% price differential in the Whirlpool document “is
  approximately within the range of Dr. Dennis’s survey results (48.5%) and Dr.
  Sukumar’s survey results (44.3%).” (Id. 16)
        On reply, the defendants protest that the corroborating documents cited
  are no more specific than the Whirlpool document itself. (Weir Reply 4) For
  example, Mr. Voglewede states that the “2008 presentation given at an equity
  conference..   .   .   shows a supposed $200 initial price premium for an Energy
  Star washer, but it is unclear from the graph what ‘price premium’ should
  mean in this context, whether the price analysis involved comparable washers,
  and what year or years this data is supposed to cover.         .   .   .“   (Voglewede Decl.   ¶
  8) He provides similar explanations for the other documents Mr. Weir cites.
         Here is how I see it. The Whirlpool document is a Bates-stamped
  document produced by Whirlpool in discovery. It can fairly be read to support
  the generalized notion that unspecified (perhaps all?) Whirlpool Energy Star
   qualified washing machines yielded higher revenues than non-qualified
  washing machines. It is not tied specifically to the C6 and C7 Washers at issue
   here. From the face of the document, one could reasonably glean—as Mr. Weir
                                                 44
Case 2:12-cv-00089-KM-JBC Document 236 Filed 03/17/17 Page 45 of 64 PageID: 11860




  does—that the data depicted in the document comes from a “Whirlpool
  Government Relations analysis of Energy Star qualified product sales versus
  non-qualified products.” (Whirlpool document at WDZ00002O8) Likewise, it
  would not be unreasonable to read the “plethora” of corroborating Whirlpool-
  produced documents reviewed by Mr. Weir relies as stating that Whirlpool
  executives placed some independent economic value on the Energy Star
  qualification. (See, e.g., Weir       Opp.   24 (citing documents relied on and cited in
  Weir Report at        ¶J   24—31)) Therefore, I would not go so far as to say, as the
  defendants suggest, that Mr. Weir “knows nothing about the document or the
  data it summarizes.” (Weir Br. 10) The results of Mr. Weir’s independent
  inquiry seem to be far from definitive, but neither was that inquiry so
  completely lacking as those in the cases defendants cite.
                                                      23
        Still, to extract a 55.7% Energy Star price premium for the Washers
  based on this document, without any independent investigation into the data
  depicted in the document, is just too much. Here, Mr. Weir makes the kind of
  logical leap that other district courts in the Third Circuit have deemed
  unreliable and grounds for exclusion.
                             24 “[E]xperts who use data in their reports


  23     E.g., Legendary Art, LLC v. Godard, No. CIV.A. 11-0674, 2012 WL 3550040, at
  *4 (E.D. Pa. Aug. 17, 2012) (“There is no evidence that [the plaintiffs expert] did
  anything to veriIr [the plaintiffs own] profit and loss projections. Indeed, his report
  states several times that his analysis assumed the validity of the projections.
  Moreover, there is no evidence that Mr. Slocumb had any familiarity with the methods
  or reasoning used by [the plaintiff] to arrive at the projections. Mr. Slocumb’s reliance
  on projections supplied by [the plaintiff], without independent verification, renders his
  analysis unreliable.” (internal quotation marks and citations omitted)).
  24     See, e.g., Bruno v. Bozzuto’s, Inc., 311 F.R.D. 124, 138 (M.D. Pa. 2015)
  (“Plaintiffs’ experts were wholly unfamiliar with the methodology or purposes
  underlying the [internal documents]. They were not involved in data gathering or
  composition.  .
                    .; they merely took what Defendant gave them.     .Plaintiffs’ experts
                                                                          .   .


  sole connection with the composition of the [defendants’ sales projection documents]
  came either from what Plaintiffs or their counsel chose to inform them of or what they
  remembered from certain discovery documents they were given to review—conduits
  that the evidence reveals were inadequate to furnish the experts with the requisite
  background information. The experts’ memories as to whether a market study had
  been conducted, how many [sales projection documents] were generated, and which.
   was in fact the final one on which Defendant relied were largely incomplete and often
  contradicted by Defendant’s own testimony and internal documentation.”); see also
                                                      45
Case 2:12-cv-00089-KM-JBC Document 236 Filed 03/17/17 Page 46 of 64 PageID: 11861




  without independently verifying the accuracy or reliability of those figures fail
  to satisfy this Circuit’s reliability requirement.” Bruno v. Bozzuto’s, Inc., 311
  F.R.D. 124, 138 (M.D. Pa. 2015).
        In short, it is not enough to simply seize on the figure because it appears
  in a document obtained from Whirlpool’s files. And the “corroborating”
  documents, while a step in the right direction, do not sufficiently validate the
  Whirlpool document or pin down its meaning. I am confirmed in that
  conclusion by Mr. Voglewede’s declaration. There are simply too many
  unknown variables that would affect the data in the anonymous Whirlpool
  document. Without more serious investigation of the basis for the figures, they
  cannot furnish a reasonable basis for an Energy Star logo price premium
  estimate. Cf Magistrini v. One Hour Martinizing Dry Cleaning, 180 F. Supp. 2d
  584, 604 (D.N.J. 2002) (excluding expert’s opinion as unreliable, noting “there
  is simply too great an analytical gap between the data purportedly relied on.
  and the opinion.    .   .   proffered,” in part because the expert “did not adequately
  explain his methods for assessing the internal validity of the studies that he
  relied upon in rendering his opinion.” (internal quotation marks omitted)),
  aff’d, 68 F. App’x 356 (3d Cir. 2003).
        Therefore, I will grant the defendants’ motion to exclude Mr. Weir’s
  opinions to the extent they rely on the data presented in the Whirlpool
  document as representing Whirlpool’s own “price premium” projection for these
  Washers. I will strike the 55.7% price premium Mr. Weir derives from the
  anonymous Whirlpool document and the projected price premium damages of

  Montgomery Cty. v. Microvote Corp., 320 F.3d 440, 449 (3d Cir. 2003) (district court
  did not abuse its discretion in excluding expert’s testimony where expert had not
  independently investigated unreliable data underlying a party document and did not
  know, inter alia, how the document was created).
        The cases that the plaintiffs cite for the proposition that an expert’s failure to
  conduct further investigation is an issue of weight rather than admissibility do not
  concern an expert’s reliance on unverified, unvalidated documents or data. Rather,
  those cases address criticisms of an expert’s chosen methodology or reliance on
  another expert’s sufficiently reliable data. (See Weir Opp. 15 (collecting cases))


                                                   46
Case 2:12-cv-00089-KM-JBC Document 236 Filed 03/17/17 Page 47 of 64 PageID: 11862




  $97,498,148 that he projects based on that figure. (See, e.g., Weir Report        ¶J
  33—34, 53 (“Whirlpool Study” row in Table 4))

            d) Whether Mr. Weir should have considered conflicting market data
               from 2009—2010 or subtracted benefits received
        The defendants next make arguments similar to those made against Drs.
  Sukumar and Dennis: first, that Mr. Weir did not examine actual,
  contradictory marketplace data from 2009 and 2010, and second, that Mr.
  Weir failed to subtract from his price premium damages the corresponding
  benefits that purchasers may have received. (Weir Br. 13_16).25 The defendants
  themselves frame their second criticism as a Comcast problem (see Weir Br.
  16—17), and on reviewing it, I agree. For the reasons expressed above, I do not
  address it on this Daubed motion. See Section III.A.4, supra.
                                                         26
        To the first criticism, the plaintiffs respond that consistency with other
  market data is a matter of weight, not admissibility. (Weir Opp. 17) Setting that
  aside, they point to available 2009 and 2010 market data concerning the C500


  25     The defendants also argue that Mr. Weir’s price premium damages opinions
  must be excluded because they rely, in part, on the “unreliable and inadmissible”
  price premium opinions of Drs. Sukumar and Dennis. (Weir Br. 17—18) Because I find
  the Doctors’ opinions admissible under Rule 702, there is no question that Mr. Weir is
  entitled to rely on those opinions without rendering his own opinions unreliable. See
  Fed. R. Evid. 703; see also, e.g., Summit 6, LLC v. Samsung Elecs. Co., 802 F.3d 1283,
  1298 (Fed. Cir. 2015) (explaining that an expert “need not be a survey expert to testify
  about the information compiled by third-party surveys, so long as the information is of
  a type reasonably relied upon by experts in the field to form opinions upon the
  subject.”).
  26      Even if the defendants had framed their concern as a Daubert reliability or fit
  issue, the plaintiffs present good—if not overwhelmingly convincing—grounds as to
  why Mr. Weir chose not to subtract benefits received from his damages calculations:
  (1) the defendants’ own expert, Dr. Scott, excluded rebates from her definition of
  market prices and made no adjustments for rebates or tax refunds in her analyses (Id.
  22); and (2) realization of rebates and refunds is uncertain and occurs, if at all, after
  the time that the Washers were purchased, without any tie to the conduct of the
  defendants, whereas the plaintiffs’ theory of price premium damages assumes they
  occur at the time of purchase. (Id.) “An expert is  .  permitted to base his opinion on a
                                                          .   .



  particular version of disputed facts and the weight to be accorded to that opinion is for
  the jury. It is also.
                      .   a proper subject for cross-examination.” Walker v. Gordon, 46 F.
                          .



  Appx 691, 695—96 (3d Cir. 2002) (affirming district court’s decision to admit expert
   opinion over charge that expert had failed “to rely on all of the evidence in the case”).

                                                 47
Case 2:12-cv-00089-KM-JBC Document 236 Filed 03/17/17 Page 48 of 64 PageID: 11863




  Maytag model. Mr. Weir explained in his rebuttal report, however, that his
  rejection of the C500 data had a reasonable basis: (a) the C500, which had
  different features from the Washers, was not comparable; and (b) nearly all of
  the C500 models had been sold by the time the C6 models, “designed and
  introduced as the successor to the C500,” hit the market. (Weir Opp. 17—19
  (citing Weir Rebuttal   ¶J   5—31)) In short, the two did not compete for the
  consumer dollar. Even so, Mr. Weir calculated for purposes of argument that
  the C6 model carried a 48% price premium over the C500 model.
        In response to Mr. Weir’s 48% figure, the defendants’ expert Dr. Scott
  submitted a rebuttal report (discussed further in Part III, below). Dr. Scott
  concluded that the average weighted price of the C6 Washers was actually
  lower than the non-Energy Star C500 models. (Id. 20—21 (citing Rebuttal
  Expert Report of Carol A. Scott, Ph.D., July 1, 2016, Deckant Decl. Ex. G, ECF
  No. 215-7) The plaintiffs rejoin that Dr. Scott cherry-picked data from
  inappropriate time periods. (Id.)
        Enough. What is presented here is a classic battle of the experts over
  disputed facts, to be settled by the finder of fact; it does not affect admissibility.
  See, e.g., In re Gabapentin Patent Litig., No. CIV.A. 00-293 1, 2011 WL
  12516763, at *10 (D.N.J. Apr. 8, 2011) (concluding that defendants’ critiques
  of plaintiffs’ experts’ methodology and inconsistent conclusions presented “a
  battle of the experts, and both sides will be permitted to present expert
  testimony on these issues and to cross-examine the other side’s expert
  witnesses.”); Walker, 46 F. App’x at 695—96, supra 19; Hartle, 2014 WL
  1317702, at *7, supran.18.

        3) Mr. Weir’s Energy Expense Damages Model
        The defendants next turn to the “energy expense damages” component of
  Mr. Weir’s model. This component, they claim, should be excluded because it
  rests on false assumptions and miscalculations. (Weir Br. 18) The defendants
  especially take issue with the model’s assumptions that: (a) the Washers
  consumed more energy than Energy Star regulations permit; and (b) the United


                                                48
Case 2:12-cv-00089-KM-JBC Document 236 Filed 03/17/17 Page 49 of 64 PageID: 11864




  States Department of Energy (“DOE”) tests for measuring energy consumption
  reliably represent real-world use. They argue that the Washers only failed to
  meet the DOE’s Energy Star standards because the DOE changed its procedure
  for measuring washer capacity. The Washers themselves remained unchanged
  from the time when they did meet Energy Star standards. Because Mr. Weir did
  not account for this, the defendants say, his “energy expense calculations lack
  any factual foundation, and his methodology is designed to maximize the
  appearance of damages where there are none.” (Weir Br. 19) Additionally, the
  defendants argue, Mr. Weir failed to account for how the putative class
  members actually used their washers, as opposed to the way the DOE tested
  the Washers in the laboratory. (Id. 21)
         The defendants also submit that when Dr. Weir calculated the electrical
  use of the Washers, he “used a made-up drying energy input when he should
  have used the actual drying energy from the DOE’s audit tests        .   .   .   .“   (Id. 23)
  The defendants claim Dr. Weir’s use of an unexplained, made-up number
  resulted in a $15 million error in the plaintiffs’ favor.           Such a basic
  mathematical miscalculation, the say, renders Dr. Weir’s analysis unreliable
  and highlights Dr. Weir’s misunderstanding of the DOE tests on which he
  relies. (Id. 24)
         The plaintiffs respond that the defendants’ arguments concerning the
  DOE’s results go to the merits of the case and have no bearing on whether Mr.
  Weir has presented an adequate damages model. (Weir Opp. 25) And, they say,
   Mr. Weir chose to rely on DOE data because he reasonably understands the
  data to be representative of general consumer behavior—that is, it is relevant in
  practice, not just theory. (Id. 26—27 (citing Weir deposition testimony, Deckant
   Decl. Ex. D, ECF No. 2 15-4)) As for the miscalculations, the plaintiffs stress
   that a potentially incorrect input, the problem identified by the defendants’
   experts, does not render Mr. Weir’s methodology unreliable. (Id. 27)
         I agree with the plaintiffs that the defendants’ criticisms go to weight, not
   admissibility. First, I do not think Mr. Weir’s reliance on DOE results and


                                              49
Case 2:12-cv-00089-KM-JBC Document 236 Filed 03/17/17 Page 50 of 64 PageID: 11865




   figures raises the same concerns as, say, his reliance on the Whirlpool
   document. Mr. Weir has researched and understands the source, context, and
   meaning of the DOE’s data here, and the DOE’s calculations have a direct
  factual connection to this case. Indeed, they are at the root of the plaintiffs’
   allegation that the Energy Star label was inappropriate.
        As an opinion witness, Weir is entitled to rely on facts or data of the type
  reasonably relied upon by expert in the field. Daubert, 509 U.S. 579; Fed. R.
  Evid. 703. Here, I think Mr. Weir has good grounds to rely on the DOE data for
  purposes of calculating potential energy expense damages, and I see no reason
  that experts in the field of damages would not reasonably rely on data of this
  type. See In re Paoli R.R. Yard PCB Litig., 35 F.3d 717, 749 (3d Cir. 1994)
   (“[Wihen a trial judge analyzes whether an expert’s data is of a type reasonably
  relied on by experts in the field, he or she should assess whether there are
  good grounds to rely on this data to draw the conclusion reached by the expert.
  Whether experts in the field rely on this type of data will simply continue to be
  a part of the judge’s analysis.) If the DOE data is truly flawed or inapt, the
  defendants should have no problem making that clear on cross examination.
       Additionally, if it is the case that the Washers are just as efficient as
  Energy Star qualified washing machines, or as efficient as they are labeled—a
  theory directed to the merits of plaintiffs’ allegations—then the defendants will
  have the opportunity to establish this by opposing evidence, as opposed to
  exclusion of the plaintiffs’ evidence.
         Finally, mathematical errors and flawed data can of course be significant
  in the Daubert calculus. See, e.g., Dart v. Kitchens Bros. Mfg. Co., 253 F. App’5c
  395, 398 (5th Cir. 2007) (mathematical errors in another expert’s underlying
  calculations on which expert relied was one of several flaws contributing to the
  unreliability of expert’s methodology). Here, however, I am not convinced that
  Mr. Weir’s alleged miscalculations render his energy damages model unreliable
  and inadmissible. In fact, the “miscalculation” the defendants allege is not
  really a matter of mathematics, as implied; rather, it is a factual dispute among
  experts regarding the value and source of an input that is fully disclosed and
                                              50
Case 2:12-cv-00089-KM-JBC Document 236 Filed 03/17/17 Page 51 of 64 PageID: 11866




  can be disputed factually. (See Weir Report Ex. 3 (“Drying Factor” input))
                                                                     27 The
  principle of GIGO (garbage in, garbage out) can be grasped by a jury.
         Having reviewed Mr. Weir’s initial and rebuttal reports, I agree that he
  could have provided a clearer explanation as to how he chose a drying energy
  input. (See Weir Report     ¶ 10, Ex. 3; Weir Rebuttal ¶ 129) But the defendants’
  own expert, Dr. Fessler, achieves the opposite of the defendants’ intended
  purpose on this Daubert motion; he figures out that Mr. Weir derived his drying
  energy input by “back-calculating” from figures displayed on the Washers’
  EnergyGuide label.
              28 (See Fessler Report              fi 56—62) Mr. Weir’s back-calculation
  from official DOE test results is a sufficiently reliable methodology which rests
  on a sufficient foundation for Daubed purposes.
                                        29 It can be tested on cross-



  27    The defendants’ arguments are inspired by the opinions of their own experts,
  Dr. M. Laurentius Marais (see Expert Report of M. Laurentius Marais, Ph.D., April 26,
  2016, ECF No. 177-4 (“Marais Report”)) and Dr. John R. Fessler (see Expert Report of
  John R. Fessler, Ph.D., P.E., ECF No. 177-6 (“Fessler Report”)), who attack various
  aspects of Mr. Weir’s methodology. Mr. Weir, in turn, rebuts the opinions of Drs.
  Marais and Fessler and presents reciprocal quibbles with Drs. Marais’s and Fessler’s
  methodologies. (See Weir Rebuttal ¶J 89—133)
  28     According to the government-sponsored Energy Star website:
                All major home appliances must meet the Appliance
                Standards Program set by the US Department of Energy
                (DOE). Manufacturers must use standard test procedures
                developed by DOE to prove the energy use and efficiency of
                their products. Test results are printed on faj yellow
                EnergyGuide label, which manufacturers are required to
                display on many appliances. This label estimates how much
                energy the appliance uses, compares energy use of similar
                products, and lists approximate annual operating costs.
                Your exact costs will depend on local utility rates and the
                type and source of your energy.
  https: / / www. energystar. gov/ index. cfm?c=appliances. pr_energy_guide (emphasis
  added).
  29     As the DOE’s fmdings that the Washers do not meet Energy Star standards lie
  at the heart of plaintiffs’ claims, I also find that there is a sufficient factual connection
  between the DOE’s results and this case for purposes of Daubert’s fit requirement.
         I reach these same conclusions with respect to the defendants’ related
  argument, made in a footnote, that Mr. Weir made “several other significant
  calculation errors.” (Weir Br. 23 n. 13) Mr. Weir’s reports identify reliable sources for
                                                   51
Case 2:12-cv-00089-KM-JBC Document 236 Filed 03/17/17 Page 52 of 64 PageID: 11867




  examination, for example by plugging in alternative, arguably better-chosen,
  inputs. (See Weir Rebuttal ¶j 129—131 (explaining that Drs. Marais and Fessler
  only take issue with his choice of inputs, not his basic framework, and
  accepting that other inputs can be tested in his model); Weir Report Ex. 3
  (indicating that the drying energy input is adjustable))

         Once again, I conclude that we are faced, not with an inadmissible expert
  opinion, but with a battle of the experts, suitable for sorting out in subsequent
  motion practice or at trial.

         4) Whether Dr. Weir Double-Counts Damages
         Finally, the defendants argue that Dr. Weir’s model double-counts
  damages: that is, it assumes invalidly that the putative class should be
  awarded both “price premium” and “energy expense” damages. This
  assumption, the defendants say, threatens to reimburse the plaintiffs for the
  Energy Star “price premium” (the price differential between an Energy Star and
  non-Energy Star washer, which is rationally based on the expectation of
  efficiency-based savings) and also to compensate them for not having received
  those very savings. (Weir Br. 23—24) In other words, “it would be as though
  Plaintiffs had bought a conventional washer.           .       .       but realized the energy
  efficiency benefits of the Energy Star washer      .       .       .   .“   (Id. 25)
         The plaintiffs say that the defendants have simply misunderstood: “Mr.
  Weir is not proposing that his two damages models must be used in
   combination.” (Weir Opp. 28) Although Mr. Weir testified that he believes both
  methods could be used concurrently, he also states that the models are
   independent. (See Weir Rebuttal     ¶ 90 (“I believe the determination of which
   damage methodologies are selected in this litigation will be made by the Court
   or jury, and I offer no opinion as to whether Plaintiffs are legally entitled to one
   of both of these damage recoveries. I have simply offered multiple damage


   his input data—mainly DOE results and Energy Star specifications set forth in the
   Code of Federal Regulations—and his input values are disclosed in his initial report
   and thus susceptible to challenge at trial.

                                                52
Case 2:12-cv-00089-KM-JBC Document 236 Filed 03/17/17 Page 53 of 64 PageID: 11868




 methodologies that I believe comport with Plaintiffs’ stated theories of liability
    .“))
           Thus, the plaintiffs take the position that either type of damages may be
 awarded, depending on the merits of the case and the court’s determination as
  to which method or methods are appropriate for calculating class wide
  damages through the use of common evidence, as Fed. R. Civ. P. 23 requires.
  (Id. 28—29) Here, they seem to accept, at least in principle, that the two may

  overlap. (But see Section II.C.4, pp. 35—38, supra.)
        For now, I will permit the plaintiffs to explore what are potentially
  alternative measures of damages. The plaintiffs’ position is appropriate at this
  stage of the case and raises no Daubert issue. To the extent the plaintiffs do
  seek double recovery, the defendants may raise their argument at a later, more
  appropriate stage of the case. See, e.g., Dewey v. Volkswagen of Am., 728 F.
  Supp. 2d 546, 596 (D.N.J. 2010) (rejecting proposed double counting of
  damages on motion to approve settlement), rev’d and remanded on other
  grounds sub nom. Dewey v. Volkswagen Aktiengesellschaft, 681 F.3d 170 (3d
  Cir. 2012).
           In sum, the defendants’ motion to exclude the opinions of Mr. Weir is
  granted as to the opinions of Mr. Weir’s opinions that rely on the data
  presented in the anonymous Whirlpool document as Whirlpool’s own “price
  premium” projection. The defendants’ motion is otherwise denied.




                                               53
Case 2:12-cv-00089-KM-JBC Document 236 Filed 03/17/17 Page 54 of 64 PageID: 11869




            III.   PLAINTIFFS’ MOTION TO STRIKE DR. SCOTT’S REPORTS
             The plaintiffs’ only motion in limine (ECF No. 221) seeks to strike the July
  1, 2016 rebuttal and supplemental expert reports of Dr. Carol A. Scott,
                                                                   ° a
                                                                   3
  damages expert for the Whirlpool defendants. The plaintiffs raise no arguments
  under Rule 702 or 703, Fed. R. Evid. Rather, they say the rebuttal and
  supplemental reports should be stricken as a sanction under Rule 37, Fed. R.
  Civ. P., because they were submitted too late and without justification under
  this Court’s Scheduling Order. (See Scott Br. 9—12) That Order sets April 26,
  2016 as the deadline for “Defendants’ class based expert reports in support of
  their opposition to class certification,” and does not provide for submissions of
  additional expert reports. (See Scheduling Order).
   A.        Legal Standard: Exclusion of Expert Testimony Pursuant to Rule 37(c)(fl

              Rule 26(a)(2) provides that an expert witness retained to testify in a case
  must submit a report. Rule 26(e)(1) provides:
                    A party who has made a disclosure under Rule 26(a)—or who
                    has responded to an interrogatory, request for production, or
                    request for admission—must supplement or correct its


  30     The following citations will be used for Dr. Scott’s reports and the briefmg on
  the plaintiffs’ motion to strike them:
        •    “Scott Report” = Expert Report of Carol A. Scott, Ph.D., April 26, 2016, Deckant
             Decl. Ex. M, ECF No. 2 15-13
        •    “Scott Rebuttal” = Rebuttal Expert Report of Carol A. Scott, Ph.D., July 1, 2016,
             Deckant Decl. Ex. G, ECF No. 2 15-7
        •    “Scott Supplemental” = Supplemental Expert Report of Carol A. Scott, Ph.D.,
             July 1, 2016, Deckarit Ex. H, ECF No. 2 15-8
        •    “Scott Br.” = Memorandum of Law in Support of Plaintiffs Motion to Strike Dr.
             Carol A. Scott’s July 1, 2016 Rebuttal Expert Report and Supplemental Expert
             Report, ECF No. 224
        •    “Scott Opp.” = Opposition to Plaintiffs’ Motion to Strike Dr. Carol A. Scott’s July
             1, 2016 Rebuttal Expert Report and Supplemental Expert Report By Defendants
             Whirlpool Corporation, Lowe’s Home Center, LLC, Sears Holdings Corporation,
             and Fry’s Electronics, Inc., ECF No. 231
        •    Scott Reply” = Reply Memorandum of Law in Further Support of Plaintiffs
             Motion to Strike Dr. Carol A. Scott’s July 1, 2016 Rebuttal Expert Report and
             Supplemental Expert Report, ECF No, 232

                                                     54
Case 2:12-cv-00089-KM-JBC Document 236 Filed 03/17/17 Page 55 of 64 PageID: 11870




               disclosure or response:
                 (A) in a timely manner if the party learns that in some
                     material respect the disclosure or response is
                     incomplete or incorrect, and if the additional or
                     corrective information has not otherwise been made
                     known to the other parties during the discovery
                     process or in writing; or
                 (B) as ordered by the court.

  Fed. R. Evid. 26(e)(1).
        Under Rule 37(c)(1), “[ijf a party fails to provide information or identify a
  witness as required by Rule 26(a) or (e), the party is not allowed to use that
  information or witness to supply evidence on a motion, at a hearing, or at a
  trial, unless the failure was substantially justified or is harmless.” Fed. R. Civ.
  P. 37(c)(1). It follows that a court has the discretion to bar expert testimony
  that is not proffered in accordance with Rule 26, unless the noncompliance is
  excused. See Geis v. Tricam Indus., Inc., No. CIV.A. 09-1396 MLC, 2010 WL
  8591142, at *2 (D.N.J. Oct. 6, 2010). A sister court within this Circuit has
  usefully summarized the standards under Rule 37(c)(1) for excusing
  noncompliance as “substantially justified” or “harmless”:
               The party against whom the sanction is sought has the
               “burden of proving substantial justification or that its
               failure to produce was harmless.” Tolerico v. Home
               Depot, 205 F.R.D. 169, 175 (M.D. Pa. 2002).
               “Substantial justification’ for the failure to make a
               required disclosure has been regarded as ‘justification
               to a degree that could satisfy a reasonable person that
               parties could differ as to whether the party was
               required to comply with the disclosure request.’ “ Id.
               (quoting United States v. Dentsply Intern., Inc., No. Civ.
               A. 99—5, 2000 WL 654378, at *7 (D. Del. May 10,
               2000). “The test of substantial justification is satisfied
               if ‘there exists a genuine dispute concerning
               compliance.”’ Id. at 175—76 (quoting Henrietta D. v.
               Giuliani, No. 95—CV—0641, 2001 WL 1602114, at *5
               (E.D.N.Y. Dec. 11, 2001)).

   Vaskas v. Kenworth Truck Co., No. 3:10-CV-1024, 2013 WL 1207963, at *3
   (M.D. Pa. Mar. 25, 2013).

                                                55
Case 2:12-cv-00089-KM-JBC Document 236 Filed 03/17/17 Page 56 of 64 PageID: 11871




        The exclusion of critical evidence, however, “is an ‘extreme’ sanction, not
  normally to be imposed absent a showing of willful deception or ‘flagrant
  disregard’ of a court order by the proponent of the evidence.” Meyers v.
  Penriypack Woods Home Ownershz, Ass’n., 559 F.2d 894, 904—905 (3d Cir.
  1977) (citation omitted), overruled on other grounds, Goodman v. Lukens Steel,
  777 F.2d 113 (3d Cir.1985), affd 482 U.S. 656, 107 S. Ct. 2617 (1987). The
  Third Circuit has set forth factors (the “Pennypack factors”), to be considered
  when determining whether “exclusion of evidence is an appropriate sanction for
  failure to comply with discovery duties”:
               (1) the prejudice or surprise of the party against whom
               the excluded evidence would have been admitted; (2)
               the ability of the party to cure that prejudice; (3) the
               extent to which allowing the evidence would disrupt
               the orderly and efficient trial of the case or other cases
               in the court; and (4) bad faith or willfulness in failing
               to comply with a court order or discovery obligation.
  Nicholas v. Pennsylvania State Univ., 227 F.3d 133, 148 (3d Cir. 2000); see also
  Pennypack Woods, 559 F.2d at 904—05. The Third Circuit has supplemented
  that Pennypack list, also considering (5) “the importance of the excluded
  testimony” and (6) the party’s explanation for failing to disclose.
  Konstaritopoulos v. Westvaco Corp., 112 F.3d 710, 719 (3d Cir. 1997) (quoting
  Pennypack, 559 F.2d at 905); Vaskas v. Kenworth Truck Co., No. 3: 10-CV-
  1024, 2013 WL 1207963, at *3 (M.D. Pa. Mar. 25, 2013) 31

               B.     Discussion

        The plaintiffs argue that the six Pennypack factors weigh in favor of
  striking Dr. Scott’s reports, for the following reasons: (1) the plaintiffs were
  prejudiced because Dr. Scott’s supplemental and rebuttal reports were
  submitted just hours before the close of expert discovery, leaving the plaintiffs
  no time to depose Dr. Scott or submit a responsive expert report; (2) the
  plaintiffs cannot cure the prejudice, unless granted leave to file an expert


        For simplicity, I will refer to all six as the “Pennypack factors”.

                                                  56
Case 2:12-cv-00089-KM-JBC Document 236 Filed 03/17/17 Page 57 of 64 PageID: 11872




  report in response to Dr. Scott’s additional reports, because expert discovery
  has closed;
      32 (4) disclosure of the reports on the very day the plaintiffs were
  required to submit their reply brief in support of class certification indicates
  bad faith; (5) Dr. Scott’s additional reports are important to the damages
  analysis because Dr. Scott opines that C6 washers do not carry a price
  premium over the C500 washers; and (6) the defendants cannot argue that Dr.
  Scott’s additional reports were not untimely by virtue of their compliance with
  Rule 26.
        The defendants respond that I should deny the plaintiffs’ motion for three
  reasons.
        1) The Plaintffs’ Failure to Follow Local Rule 37.1
        First, the defendants say the plaintiffs themselves have failed to comply
  with this District’s Local Civil Rule 37.1(a) and the initial scheduling order in
  this case. The Rule instructs parties to confer and attempt to resolve discovery
  disputes among themselves before seeking the court’s intervention. (Scott Opp.
  9—i 1) The initial scheduling order provides that “[nb discovery.   motions for
                                                                          .   .




  sanctions for failure to provide discovery shall be made without prior leave of
  Court,” and directs the parties to bring discovery disputes to the court that
  cannot be informally resolved within 14 days. (ECF No. 103       ¶   8) By defendants’
  reckoning, the motion was brought tardily and without the required prior
  consultation.
        The plaintiffs do not deny that they never sought to informally resolve the
  Scott-related issues with the defendants. They contend that they adequately
  disclosed their intentions, however, when they filed a letter with this Court
  requesting a unified briefing schedule for both sides’ Daubert motions. (Scott
  Reply 10) The plaintiffs’ motion to strike pursuant to Rule 37(c)(1), however, is
  not a Daubert motion. It is a discovery motion that should have been discussed
  if not resolved by the parties, with or without the help of the Magistrate Judge,



  32    The plaintiffs do not make any argument as to the third factor.

                                               57
Case 2:12-cv-00089-KM-JBC Document 236 Filed 03/17/17 Page 58 of 64 PageID: 11873




  months ago. Finding some procedural fault on both sides, however, I will
  excuse the plaintiffs’ noncompliance and consider the merits of their motion.

        2) Whether the Reports Comply with Rule 26
        The defendants attack the very premise of the plaintiffs’ motion. Dr.
  Scott’s Rebuttal and Supplemental Reports, they say, were timely submitted
  under Rule 26.

            a) Dr. Scott’s Rebuttal Report
        The defendants argue that Dr. Scott’s rebuttal expert report was
  intended solely to contradict or rebut a new opinion stated in Mr. Weir’s
  rebuttal expert report. The Scheduling Order did not specifically address the
  timing of defendants’ rebuttal reports. Therefore, they say, we fall back upon
  the default deadline in the Federal Rules: the defendants’ rebuttal reports
  needed to be disclosed within 30 days after the plaintiffs’ reports to which they
  responded. Fed. R. Civ. P. 26(a)(2)(D)(ii). (Id. 12—13). Mr. Weir’s rebuttal report
  was dated June 10, 2016; Dr. Scott’s Rebuttal Report in response was dated
  July 1, 2016, within the Rule’s 30-day deadline.
        Rule 26(a)(2)(D)(ii) provides: “Absent a stipulation or a court order, the
  disclosures must be made:      .   .   .   (ii) if the evidence is intended solely to
  contradict or rebut evidence on the same subject matter identified by another
  party under Rule 26(a)(2)(B) or (C), within 30 days after the other party’s
  disclosure.” Fed. R. Civ. P. 26(a)(2)(D)(ii) (emphasis added). The highlighted
  language raises the question of whether the Scheduling Order in this case is a
  “court order” that overrides the deadline in the Rule. The Scheduling Order
  does, of course, set a deadline of April 26, 2016 for “Defendants’ class based
  expert reports in support of their opposition to class certification” and a
  deadline of June 10, 2016 for “Plaintiffs’ class based rebuttal expert reports.”
                                                                         33




         See Scheduling Order at 2 (also noting that “no further extensions will be
  granted).

                                                       58
Case 2:12-cv-00089-KM-JBC Document 236 Filed 03/17/17 Page 59 of 64 PageID: 11874




         The Scheduling Order, however, is “silent as to the submission by
  Defendants of rebuttal reports in the event that Plaintiffs’ experts offer new
  opinions.” (Scott Opp. 12) Several cases hold that where a scheduling order
  exists, but is silent on a particular point, then it does not constitute an
  overriding “court order” within the meaning of Rule 26(a)(2)(D)(i
                                                      34            i). I agree.
  Under the circumstances, I apply the default Rule 26 deadline of 30 days.
  Because Dr. Scott’s rebuttal report was submitted within 30 days, it was
  timely.
         To say that defendants met the deadline for a rebuttal report, however,
  begs the question of whether Dr. Scott’s report is properly regarded as a
  rebuttal report at all. Plaintiffs, citing Rule 26(a)(2)(D)(ii), say no, for two
  reasons. First, they say, Mr. Weir’s rebuttal report did not contain any “new
  opinion” requiring additional rebuttal, but only a brief concession arguertdo
  that fWeir were to compare the C500 and C6 models (a comparison which he
  maintains is inappropriate), then he would find a positive price premium
  discount “of as much as 48% or $196.81.” Second, they say that Dr. Scott’s
  rebuttal adds nothing to the conclusions of her initial report. (Scott Reply 6)
         I disagree. Mr. Weir’s calculation of a price premium between the C500
  and C6 models is new; it does not appear in his earlier report. (See Weir
  Rebuttal   ¶   24) That it is narrow, brief, or stated arguendo does not make it any
  less new. There is no room in the Rules for plausible deniability; plaintiffs are
  either offering Weir’s new opinion for the fact finder’s consideration, or they are
  not. If they are not, it should not be in the report; if they are, it is subject to


          See, e.g., Fulton Fin. Advisors v. Natcity fnvs., Inc., Civil Action No. 09-4855,
  2016 WL 5461897, at *2 (E.D. Pa. Sept. 28, 2016) (“Courts have held that where a
  [case management order] is silent as to rebuttal expert reports, the terms of Rule
  26(a)(2)(D)(ii) permits them if they are timely disclosed.”); Teledyne Instruments, Inc. v.
  Cairns, Civ. A. No. 12-854, 2013 WL 5781274, at * 17 (M.D. Fla. 2013) (“The
  [scheduling order’s] failure to set a deadline for the disclosure of rebuttal expert
  witness reports does not mean that rebuttal expert witness reports are not permitted.
  It simply means that rebuttal expert witness reports must be submitted within the
  period set forth in Rule 26(a)(2)(D)(ii).” (also collecting cases and noting this is the
  majority view)).

                                                  59
Case 2:12-cv-00089-KM-JBC Document 236 Filed 03/17/17 Page 60 of 64 PageID: 11875




  rebuttal. Such rebuttal, of course, must be confined to the scope of the new
  35 Dr. Scott’s rebuttal report, I find, is confined to rebutting Mr. Weir’s
  opinion.
  new “48% or $196.81” calculation. It does nothing more than describe Mr.
  Weir’s new calculation (Scott Rebuttal Report        ¶   5); analyze the data he cited as
  the basis for that calculation (id.   ¶J   7—8); and conclude that Mr. Weir did not
  provide sufficient information to permit verification of it (id.              ¶J   3—4, 9).
        Dr. Scott’s report is properly considered a rebuttal report. As such, for
  the reasons expressed above, it is timely. (See Scott Reply 4—5)

            b) Dr. Scott’s Supplemental Report
        As for Dr. Scott’s Supplemental Report, the defendants argue that
  disclosure was timely pursuant to Fed. R. Civ. p. 26(e). Rule 26(e) requires an
  expert to supplement or correct his or her disclosure “in a timely manner if the
  party learns that in some material respect the disclosure or response is
  incomplete or incorrect, and if the additional or corrective information has not
  otherwise been macic known to the other parties during the discovery process
  or in writing.” Fed. R. Civ. P. 26(e)(1)(A). The deadline for such a supplemental
  expert report is “the time the party’s pretrial disclosures       .   .   .   are due.” Fed. R.
  Civ. P. 26(e)(2).
          36
        Dr. Scott’s Supplemental Report meets the Rule 26(e) requirements, say
  defendants, because it “solely concerns data that Dr. Scott did not have at the

        See, e.g., In re Asbestos Prod. Liab. Litig. (No. VI), No. 09-CV-74351X, 2012 WL
  661673, at *1 (E.D. Pa. Feb. 8, 2012), report and recommendation adopted sub nom. In
  reAsbestos Prod. Liab. Litig. (No. IV), No. 09-74410, 2012 WL 661660 (E.D. Pa. Feb.
  29, 2012) (“It is well settled that evidence which properly belongs in the case-in-chief
  but is first introduced in rebuttal may be rejected so as to avoid prejudice to the
  defendant and to ensure the orderly presentation of proof.” (quoting Emerick v. U.S.
  Suzuki Motor Corp., 750 F.2d 19, 22 (3d Cir. 1984)); Hans v. Tharaldson, No. 3:05-CV-
  115, 2011 WL 6937598, at *10 (D.N.D. Dec. 23, 2011) (“The function of rebuttal
  evidence is ‘to explain, repel, counteract or disprove evidence of the adverse party.’
  Experts are typically allowed to introduce new methods of analysis in a rebuttal report
  if they are offered to contradict or rebut another party’s expert; however, a rebuttal
  report should not extend beyond the scope of the other party’s expert reports.”
  (quoting United States v. Luschen, 614 F.2d 1164, 1170 (8th Cir. 1980) (additional
  citation omitted))).
  36    The deadline for pretrial disclosures has not yet been scheduled in this case.

                                                  60
Case 2:12-cv-00089-KM-JBC Document 236 Filed 03/17/17 Page 61 of 64 PageID: 11876




  time of her original report.” Specifically, it is based on sales data that
  defendant Home Depot produced for the first time on June 9, 2016. The
  Supplemental Report was therefore timely produced 21 days later, on July 1,
  2016. (Scott Opp. 14—15) The plaintiffs reply that Rule 26(e)(1)(A) does not
  apply because the late-arriving data was not produced by them, but by one of
  Whirlpool’s co-defendants, Home Depot. Data in the hands of Home Depot,
  they say, should have been obtained by Dr. Scott in time for her original report.
  (Scott Reply 2—3, 6)7
         Rule 26(a)( 1)(A) is not confined to information withheld by an adversary.
  Rather, it authorizes (indeed, requires) correction or supplementation where
  the person learns that an earlier response was “incomplete or incorrect,” unless
  the corrected or supplemented facts have been disclosed by other means.
        The defendants have not explained in detail why Dr. Scott did not
  possess Home Depot’s data. (See Scott Reply 7) For these purposes, however, I
  think the explanation given—that Home Depot had not produced it—is
  sufficient. Absent any indication that defendants gained a procedural
  advantage by stringing out Dr. Scott’s analysis, I accept that the information
  simply arrived late. Indeed, blank columns in the exhibits to Dr. Scott’s initial
  expert report corroborate that impression: some data from Home Depot is
  analyzed, but the rest is missing. (See Scott Report Exs. 5A—5B (leaving blank
  columns for certain Fry’s and Home Depot data)) This, I think, weighs against
  any inference that Dr. Scott is seeking to use Rule 26(e) as an “avenue to
  correct ‘failures of omission because [she] did an inadequate or incomplete
  preparation.”’ In re Asbestos Prod. Liab. Litig. (No. VI), 289 F.R.D. at 425
  (quoting (AkevaL.L.C. v. Mizuno Corp., 212 F.R.D. 306, 310 (M.D.N.C. 2002)).




  37     For what it is worth, defendants do not stand united as to this issue. Dr. Scott’s
  reports are submitted on behalf of Whirlpool only. (See Deckant Decl. Ex. 0 ¶ 2; Id.
  Ex. H ¶ 1 (supplementing original report); id. Ex. M ¶ 7 (ECF No. 2 15-7, 8, 13).
  Whirlpool, Lowe’s, Sears, and Fry’s oppose the plaintiffs’ motion to strike Dr. Scott’s
  reports. (See Scott Opp.). Home Depot takes no part.

                                                61
Case 2:12-cv-00089-KM-JBC Document 236 Filed 03/17/17 Page 62 of 64 PageID: 11877




         Accordingly, I will accept Dr. Scott’s Supplemental Report as a proper,
   timely supplement under Rule 26(e).

         3) Substantial Justification and the Pennypack Factors
         Even if Dr. Scott’s rebuttal and supplemental reports were not timely
   under Rule 26, I would be reluctant to exclude critical evidence, an extreme
   sanction that should be avoided if the untimely disclosure was “substantially
  justified or is harmless.” Fed. R. Civ. P. 37(c)(i). Under the Pennypack factors,
  which inform this standard, I would find the tardiness of Dr. Scott’s additional
   reports both substantially justified and harmless.
         First, the plaintiffs were neither surprised nor prejudiced. Dr. Scott’s
  rebuttal report presents no new opinions, but is confined to disputing one new
  point that Mr. Weir made in his rebuttal declaration. Her supplemental report
  merely analyzes new Home Depot data, missing from the original report, in a
  way that confirms and elaborates on the initial report. (See Scott Opp. 16—17)
  Were the plaintiffs truly at risk of being prejudiced, they surely would have
   sought some sort of relief from the Magistrate Judge, rather than just bringing
  a retaliatory cross-motion.
         Second, because I find no prejudice, there is no pressing need to
  consider whether prejudice can be cured. In an abundance of caution,
  however, I have afforded plaintiffs the option of submitting a 5-page
  supplemental report discussing the Home Depot data.
         Third, at this very early, pre-class-certification stage, consideration of Dr.
  Scott’s additional reports does not threaten to disrupt the orderly and efficient
  trial of this case.
         Fourth, because I find that the defendants submitted Dr. Scott’s
  additional reports under color of Rule 26(a)(2)(D) and 26(a)(1)(A), and at worst
  were reasonably mistaken in their interpretation of the Rule, I cannot find bad
  38
  faith.


  38     The plaintiffs stress that the defendants submitted Dr. Scott’s additional
  reports “literally hours before the close of expert discovery, and the deadline for

                                                 62
Case 2:12-cv-00089-KM-JBC Document 236 Filed 03/17/17 Page 63 of 64 PageID: 11878




         Fifth, because Dr. Scott’s additional reports respond to a new opinion of
   Weir and fill a prior hole in Dr. Scott’s data analysis, I think the information is
   “important” to the defendants’ case.
         Sixth, for the reasons already expressed, I find the defendants have
   provided adequate explanations for failing to turn over Dr. Scott’s additional
   reports sooner. The reports came within a few weeks after disclosure of the
   information to which they responded; there are no indications that defendants
   held back the reports for tactical advantage.
         Taking these factors into consideration, I find that exclusion under Rule
   37 is not warranted. Even assuming arguendo that Dr. Scott’s additional
   reports did not comply with the procedures of Rule 26, I would still find that
   the defendants have shown “a genuine dispute concerning compliance,” and
   could “satisfy a reasonable person that parties could differ as to whether the
  [defendants were] required to comply with” the deadlines in the Scheduling
  Order. Vaskas, 2013 WL 1207963, at *3 (internal quotation marks and
  citations omitted). See also Rojas v. Acuity Brands Lighting, Inc., No. CIV.A. 12-
  2220 DMC, 2014 WL 794364, at *1 (D.N.J. Feb. 27, 2014).

        I find the defendants had substantial justification for acting as they did,
  and that the plaintiffs suffered no harm as a result. Accordingly, the plaintiffs’
  motion to strike Dr. Scott’s Rebuttal and Supplemental Reports is denied.

         4) Plaintiffs’ Request for Leave to Submit a Supplemental Expert Report
         Plaintiffs request that in the alternative, I grant leave for Mr. Weir to
  submit a supplemental expert report in response to Dr. Scott’s additional
  reports. (Scott Reply 11) This request should have been made pursuant to Rule
  37.1 at the time Dr. Scott’s Rebuttal and Supplemental reports were first


  Plaintiffs to submit their reply brief in further support of class certification.” (Scott
  Reply 9) I think the defendants’ eleventh-hour filing bespeaks a rush to meet the
  discovery deadline, rather than a desire to interfere with plaintiffs’ (also last-minute)
  drafting. If the plaintiffs truly felt the need to address the additional reports,
  presumably they would have sought additional briefing or leave to file supplemental
  expert responses of their own. They did not.

                                                  63
Case 2:12-cv-00089-KM-JBC Document 236 Filed 03/17/17 Page 64 of 64 PageID: 11879




  disclosed. Made now, in the plaintiffs’ briefs in support of their belated motion,
  it seems more like tit-for-tat than a serious request. Someone’s report has to be
  last, and any issues left hanging in Dr. Scott’s reports appear to be minor.
           I will, however, permit the following, and only the following. Within 14
  days, the plaintiffs may—if they truly believe it necessary—submit a
  supplemental expert report, not to exceed five pages, confined to a discussion
  of the Home Depot data in Dr. Scott’s Supplemental Report. A further response
  to Dr. Scott’s Rebuttal Report is not authorized.



     IV.      CONCLUSION

           For the reasons stated above, the defendants’ motions to strike Dr.
  Sukumar’s and Dr. Dennis’s opinions are denied. The defendants’ motion to
  strike Mr. Weir’s opinions is granted as to the portions of Mr. Weir’s opinions
  that rely on the anonymous Whirlpool document as representative of
  Whirlpool’s own price premium, and denied as to the remainder of Mr. Weir’s
  opinions. Finally, the plaintiffs’ motion to strike the rebuttal and supplemental
  reports of Dr. Scott is denied. Plaintiffs may, at their option, submit a
  supplemental report, not to exceed 5 pages, confined to the issue of the
  additional Home Depot data discussed in Dr. Scott’s Supplemental Report.

           A separate order will issue.

  Dated: March 17, 2017




                                                    KE INMCNULTY
                                                    United States District Jud




                                               64
